                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF ALASKA

SOVEREIGN IÑUPIAT FOR A LIVING
ARCTIC, et al.,

                 Plaintiffs,

           v.

BUREAU OF LAND MANAGEMENT,
et al.,                                    Case No. 3:23-cv-00058-SLG

                 Defendants,

     and

CONOCOPHILLIPS ALASKA, INC.,
et al.,

                 Intervenor-Defendants.


CENTER FOR BIOLOGICAL DIVERSITY,
et al.,

                 Plaintiffs,

            v.

BUREAU OF LAND MANAGEMENT,                 Case No. 3:23-cv-00061-SLG
et al.,

                 Defendants,
     and

CONOCOPHILLIPS ALASKA, INC.,
et al.,

                 Intervenor-Defendants.




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                                    DECISION & ORDER

       This order is entered in two related cases challenging the Bureau of Land

Management’s (“BLM”) March 2023 Record of Decision (“ROD”) for the Willow

Master Development Plan (“Willow Project,” “Willow,” or “Project”), which

authorizes oil production on leases held by ConocoPhillips Alaska, Inc.

(“ConocoPhillips”), in the National Petroleum Reserve in Alaska (“NPR-A” or

“Reserve”). Sovereign Iñupiat for a Living Arctic Plaintiffs (“SILA Plaintiffs”)1 and

Center for Biological Diversity Plaintiffs (“CBD Plaintiffs”)2 (collectively, “Plaintiffs”)

bring suit pursuant to the Administrative Procedure Act (“APA”) against Federal

Defendants.3 ConocoPhillips, Arctic Slope Regional Corporation (“ASRC”), North

Slope Borough (“NSB”), Kuukpik Corporation (“Kuukpik”), and the State of Alaska




1
 In Case No. 3:23-cv-00058-SLG, SILA Plaintiffs are Sovereign Iñupiat for a Living Arctic,
Alaska Wilderness League, Environment America, Northern Alaska Environmental Center,
Sierra Club, and The Wilderness Society.
2
 In Case No. 3:23-cv-00061-SLG, CBD Plaintiffs are Center for Biological Diversity, Defenders
of Wildlife, Friends of the Earth, Greenpeace, Inc., and Natural Resources Defense Council, Inc.
3
  In Case No. 3:23-cv-00058-SLG, Federal Defendants are the U.S. Bureau of Land
Management; U.S. Fish and Wildlife Service; and the U.S. Department of the Interior. In Case
No. 3:23-cv-00061-SLG, Federal Defendants are the same with the addition of the National
Marine Fisheries Service; U.S. Department of Commerce; Deb Haaland, in her official capacity
as Secretary of the Interior; Tommy P. Beaudreau, in his official capacity as Deputy Secretary of
the Interior; Gina M. Raimondo, in her official capacity as Secretary of Commerce; Steven
Cohn, in his official capacity as Alaska State Director of Bureau of Land Management; Sara
Boario, in her official capacity as Alaska Regional Director of U.S. Fish and Wildlife Service; and
Jonathan Kurland, in his official capacity as Regional Administrator of National Marine Fisheries
Service.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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(“State”) (collectively, “Intervenor-Defendants”) were permitted to intervene in both

cases.4

         SILA Plaintiffs and CBD Plaintiffs filed opening briefs at Docket 105 in Case

No. 3:23-cv-00058-SLG and Docket 115 in Case No. 3:23-cv-00061-SLG,

respectively, seeking vacatur of BLM’s Record of Decision (“ROD”), BLM’s Final

Supplemental Environmental Impact Statement (“Final SEIS”), and the Fish and

Wildlife Service’s (“FWS”) Biological Opinion (“BiOp”). CBD Plaintiffs also seek to

set aside the Letter of Concurrence by the National Marine Fisheries Service

(“NMFS”).5         Federal Defendants and Intervenor-Defendants (collectively,

“Defendants”) each filed briefs in opposition.6 Plaintiffs each replied in support.7

ConocoPhillips then filed a Notice of Supplemental Authority in Support of




4
 See Dockets 9, 27, 37, 39, 45 (Case No. 3:23-cv-00058-SLG); Dockets 28, 31, 40, 43, 51
(Case No. 3:23-cv-00061-SLG). In addition, there were numerous amici briefs filed in both
cases. See Dockets 100, 101, 104, 110, 133, 147 (Case No. 3:23-cv-00058-SLG); Dockets
117, 123, 125, 137, 146, 162 (Case No. 3:23-cv-00061-SLG).
5
    See Docket 104 at ¶¶ 219-22 (Case No. 3:23-cv-00061-SLG).
6
 Dockets 137 (Federal Defendants), 141 (ConocoPhillips), 142 (ASRC), 143 (NSB), 144
(Kuukpik), 145 (State) (Case No. 3:23-cv-00058-SLG); Dockets 149 (Federal Defendants), 153
(ConocoPhillips), 154 (ASRC), 155 (NSB), 156 (Kuukpik), 157 (State) (Case No. 3:23-cv-00061-
SLG). While SILA Plaintiffs’ and CBD Plaintiffs’ briefs are different from each other, Defendants’
briefs are identical in both cases. Therefore, the Court will cite only to Defendants’ briefing in
Case No. 3:23-cv-00058-SLG for simplicity.
7
    Docket 155 (Case No. 3:23-cv-00058-SLG); Docket 170 (Case No. 3:23-cv-00061-SLG).

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Intervenor-Defendants’ Opposition to Plaintiffs’ Summary Judgment Motions,8 to

which Plaintiffs responded.9

         SILA Plaintiffs also filed a Motion to Strike at Docket 150 in Case No. 3:23-

cv-00058-SLG, seeking to strike portions of ConocoPhillips’s and NSB’s filings in

opposition “that rely on extra-record evidence and the parties’ extra-record

declarations and materials.”10          ConocoPhillips and NSB each responded in

opposition at Docket 158 and Docket 157, respectively, to which SILA Plaintiffs

replied at Docket 163.11

         No party requested oral argument, and oral argument was not necessary to

the Court’s determination.

                                      BACKGROUND

         The Court set out the background in some detail in its previous order at

Docket 74 in Case No. 3:23-cv-00058-SLG and Docket 82 in Case No. 3:23-cv-

00061-SLG.12 The Court assumes familiarity here and briefly summarizes the

relevant facts.



8
    Docket 164 (Case No. 3:23-cv-00058-SLG); Docket 181 (Case No. 3:23-cv-00061-SLG).
9
    Docket 165 (Case No. 3:23-cv-00058-SLG); Docket 182 (Case No. 3:23-cv-00061-SLG).
10
     Docket 150 at 2 (Case No. 3:23-cv-00058-SLG).
11
     Case No. 3:23-cv-00058-SLG.
12
  Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt., Case No. 3:23-cv-00058-SLG,
2023 WL 2759864 (D. Alaska Apr. 3, 2023), appeal dismissed, No. 23-35226, 2023 WL
4339382 (9th Cir. May 19, 2023).

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          The National Petroleum Reserve in Alaska (“NPR-A”), on Alaska’s North

Slope, consists of 23.6 million acres and is the Nation’s largest single unit of public

land.13 Established as the Naval Petroleum Reserve in 1923, the NPR-A was

renamed and its management authority was transferred to the Secretary of the

Interior in 1976 by the Naval Petroleum Reserves Production Act (“NPRPA”), 42

U.S.C. § 6501 et seq.14 In 1980, the NPRPA was amended by an appropriations

rider that directed the Secretary of the Interior to conduct “an expeditious program

of competitive leasing of oil and gas in the” NPR-A.15 Over the years, Intervenor-

Defendant ConocoPhillips has acquired and developed significant lease holdings

in the northeast portion of the NPR-A.16

          On May 10, 2018, ConocoPhillips requested that BLM prepare an

Environmental Impact Statement (“EIS”) for the Willow Project, as required by the

National Environmental Policy Act of 1969 (“NEPA”), 42 U.S.C. § 4321 et seq.17

The following year, BLM made available for public comment a Draft EIS for the




13
     N. Alaska Env’t Ctr. v. Kempthorne, 457 F.3d 969, 973 (9th Cir. 2006).
14
 H.R. Rep. No. 94-81, at 5-6, 8-9 (1975); Naval Petroleum Reserves Production Act, Pub. L.
No. 94-258, 90 Stat. 303 (1976); 42 U.S.C. § 6503(a).
15
     Pub. L. No. 96-514, 94 Stat. 2964 (1980) (codified at 42 U.S.C. § 6506a).
16
     Docket 5 at 2-7 (Case No. 3:23-cv-00058-SLG) (ConocoPhillips Mot. to Intervene).
17
  Notice of Availability of the Willow Master Development Plan Draft Environmental Impact
Statement, Alaska, 84 Fed. Reg. 45801, 45801 (Aug. 30, 2019).

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Project.18 Then, on March 26, 2020, BLM released a Supplemental Draft EIS that

evaluated additional Project components.19 BLM published its notice regarding the

availability of the Final EIS on August 14, 2020. 20 On October 26, 2020, then-

Secretary of the Interior David Bernhardt signed the ROD approving the Willow

Project.21

           In late 2020, a number of plaintiffs filed two lawsuits challenging the Federal

Defendants’ compliance with NEPA and the Endangered Species Act (“ESA”) in

preparing the Final EIS and ROD for the Willow Project.22 In August 2021, the

Court identified several discrete deficiencies in the agencies’ analyses and vacated

BLM’s approval of the Willow Project and FWS’s Biological Opinion (“BiOp”).23




18
     Id.
19
   Notice of Availability of the Supplement to the Willow Master Development Plan Draft
Environmental Impact Statement, Alaska, 85 Fed. Reg. 17094, 17094 (Mar. 26, 2020) (“This
targeted Supplement to the Draft EIS only addresses additional analysis for three Project
components added by the Project proponent: Module delivery Option 3, a constructed
freshwater reservoir, and up to three boat ramps for subsistence access.”).
20
  Notice of Availability of the Willow Master Development Plan Final Environmental Impact
Statement, Alaska, 85 Fed. Reg. 49677 (Aug. 14, 2020).
21
     Sovereign Iñupiat for a Living Arctic, 2023 WL 2759864, at *2.
22
  Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt., 516 F. Supp. 3d 943, 948 (D.
Alaska 2021). Plaintiffs in those cases are nearly identical to those in these cases: Sovereign
Iñupiat for a Living Arctic, Alaska Wilderness League, Defenders of Wildlife, Northern Alaska
Environmental Center, Sierra Club, and The Wilderness Society (Case No. 3:20-cv-00290-
SLG), and Center for Biological Diversity, Friends of the Earth, and Greenpeace, Inc. (Case No.
3:20-cv-00308-SLG).
23
  Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt., 555 F. Supp. 3d 739, 805 (D.
Alaska 2021) [hereinafter SILA I].

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Following the Court’s decision, BLM began preparing a Supplemental

Environmental Impact Statement (“SEIS”) for the Willow Project “to address

deficiencies identified by [the Court].”24 On July 25, 2022, BLM made available for

public comment a Draft SEIS.25 And on January 13, 2023, FWS issued a new

BiOp considering the effects of the Willow Project to listed species and designated

critical habitats protected by the ESA.26 On March 2, 2023, NMFS issued a Letter

of Concurrence to BLM’s biological assessment finding that the Willow Project

“may affect, but is not likely to adversely affect,” several species of marine

mammals.27 On February 6, 2023, BLM published the notice of availability of the

Final SEIS in the Federal Register.28 And on March 12, 2023, Deputy Secretary

of the Interior Tommy Beaudreau signed the ROD approving the Willow Project.29

          As approved by the ROD, the Willow Project will consist of three drill sites

and related support infrastructure, including a processing facility, airstrip,

24
 Notice of Availability of the Draft Supplemental Environmental Impact Statement for the
Willow Master Development Plan, Alaska, 87 Fed. Reg. 44148, 44149 (July 25, 2022).
25
     Id. at 44148.
26
     FWS_AR032380-582.
27
   NMFS_AR000143. The marine mammals include: the bowhead whale, blue whale, fin whale,
North Pacific right whale, Western North Pacific distinct population segment (“DPS”) gray whale,
Western North Pacific DPS or Mexico DPS humpback whale, sperm whale, Arctic subspecies
ringed seal, Beringia DPS bearded seal, and the Western DPS Steller sea lion.
NMFS_AR000143.
28
 Notice of Availability of the Final Supplemental Environmental Impact Statement for the
Willow Master Development Plan, Alaska, 88 Fed. Reg. 7756 (Feb. 6, 2023).
29
     AR824916.

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operations center, gravel mine, gravel roads connecting the Project infrastructure,

and pipelines.30 The ROD disapproved of two additional drill sites that had been

proposed by ConocoPhillips, explaining that this decision “significantly reduces the

footprint of project infrastructure and the level of construction and operational

activities, both within and outside of the sensitive [Teshekpuk Lake Special Area],

and thereby substantially reduces impacts to a broad range of surface

resources.”31 Five days after BLM issued the ROD, ConocoPhillips relinquished

68,085.50 acres of leased lands in the Reserve because BLM “did not approve

drilling pads that could have developed [these] leases.”32

          SILA Plaintiffs filed their case on March 14, 2023, and CBD Plaintiffs filed

their case the following day.33 On March 16, 2023, Plaintiffs moved for preliminary

injunctive relief and a temporary restraining order seeking to enjoin ConocoPhillips

from beginning construction activities for the Willow Project.34 This Court denied

those motions on April 3, 2023.35 Plaintiffs unsuccessfully sought emergency relief

at the Ninth Circuit, and shortly thereafter voluntarily dismissed their preliminary



30
     AR824892.
31
     AR824900.
32
     Docket 48-10 at 23 (Case No. 3:23-cv-00058-SLG).
33
     Docket 1 (Case No. 3:23-cv-00058-SLG); Docket 1 (Case No. 3:23-cv-00061-SLG).
34
     Docket 23 (Case No. 3:23-cv-00058-SLG); Docket 24 (Case No. 3:23-cv-00061-SLG).
35
     Sovereign Iñupiat for a Living Arctic, 2023 WL 2759864, at *15.

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injunction appeals.36 The merits of Plaintiffs’ claims against Federal Defendants

are now ripe for decision.

                                         JURISDICTION

          The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331,

which “confer[s] jurisdiction on federal courts to review agency action, regardless

of whether the [Administrative Procedure Act] of its own force may serve as a

jurisdictional predicate.”37

                                      LEGAL STANDARD

          Plaintiffs seek judicial review under the Administrative Procedure Act

(“APA”).38 Under that statute, a reviewing court shall set aside agency action that

is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law[.]”39 Agency action is arbitrary and capricious if it:

          relie[s] on factors which Congress has not intended it to consider,
          entirely fail[s] to consider an important aspect of the problem, offer[s]
          an explanation for its decision that runs counter to the evidence before
          the agency, or is so implausible that it c[an]not be ascribed to a
          difference in view or the product of agency expertise.40


36
     Sovereign Iñupiat for a Living Arctic, 2023 WL 4339382, at *1.
37
     Califano v. Sanders, 430 U.S. 99, 105 (1977).
38
 Docket 88 at ¶ 11 (Case No. 3:23-cv-00058-SLG) (Am. Compl.); Docket 104 at ¶ 11 (Case
No. 3:23-cv-00061-SLG) (Am. Compl.).
39
     5 U.S.C. § 706(2)(A).
40
  Protect Our Cmtys. Found. v. LaCounte, 939 F.3d 1029, 1034 (9th Cir. 2019) (alterations in
original) (quoting Motor Vehicle Mfrs. Ass'n v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43
(1983)).

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A court’s review of whether an agency action is arbitrary and capricious should be

“searching and careful,” but “narrow,” as a court may not substitute its judgment

for that of the administrative agency.41 “[D]eference to the agency’s decisions is

especially warranted when reviewing the agency’s technical analysis and

judgments, based on an evaluation of complex scientific data within the agency’s

technical expertise.”42 “Nevertheless, the agency must examine the relevant data

and articulate a satisfactory explanation for its action including a rational

connection between the facts found and the choice made.” 43 “Whether agency

action is ‘not in accordance with law’ is a question of statutory interpretation, rather

than an assessment of reasonableness in the instant case.”44

                                          DISCUSSION

          Upon consideration of the parties’ briefing and the record in this case, the

Court finds as follows:




41
  Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 378 (1989) (quoting Citizens to Pres. Overton
Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971)).
42
 Native Vill. of Point Hope v. Salazar, 680 F.3d 1123, 1130 (9th Cir. 2012) (internal quotation
marks omitted).
43
     Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43 (internal quotation marks omitted).
44
  Singh v. Clinton, 618 F.3d 1085, 1088 (9th Cir. 2010) (citing Nw. Env’t Advocs. v. EPA, 537
F.3d 1006, 1014 (9th Cir. 2008)).

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     I.      National Environmental Policy Act

          Plaintiffs bring two NEPA claims: First, Plaintiffs contend that BLM failed to

consider a reasonable range of alternatives for the Willow Project, as required by

NEPA.45        Second, Plaintiffs contend that BLM violated NEPA by failing to

adequately analyze global greenhouse gas emissions from future oil development

on lands adjacent to Willow, for which Willow will serve as a catalyst.46

             a. Reasonable Range of Alternatives

          Both sets of Plaintiffs claim that BLM’s alternatives analysis for the Willow

Project violated NEPA.47 In preparing an EIS, an agency must “[r]igorously explore

and objectively evaluate all reasonable alternatives” to a proposed action, “and for

alternatives which were eliminated from detailed study, briefly discuss the reasons

for their having been eliminated.”48 “NEPA does not force agencies to ‘review


45
  Docket 105 at 17-25 (Case No. 3:23-cv-00058-SLG); Docket 115 at 17-24 (Case No. 3:23-cv-
00061-SLG).
46
  Docket 105 at 30-32 (Case No. 3:23-cv-00058-SLG); Docket 115 at 24-29 (Case No. 3:23-cv-
00061-SLG).
47
  Docket 105 at 18 (Case No. 3:23-cv-00058-SLG); Docket 115 at 17 (Case No. 3:23-cv-
00061-SLG).
48
   40 C.F.R. § 1502.14(a) (2019). The Council on Environmental Quality published a new rule,
effective September 14, 2020, that substantially revised the regulations implementing NEPA,
including changes to the definition of reasonable range of alternatives. However, citations in
this case are to the 2019 Code of Federal Regulations, reflecting the regulations originally
promulgated in 1978, with a minor substantive amendment in 1986. See National
Environmental Policy Act—Regulations, 43 Fed. Reg. 55978 (Nov. 29, 1978); National
Environmental Policy Act Regulations; Incomplete or Unavailable Information, 51 Fed. Reg.
15618 (Apr. 25, 1986). This is because the 2020 NEPA regulations only apply to NEPA process
begun after September 14, 2020, although agencies have the option to apply the 2020 NEPA
regulations to ongoing activities begun before that date. 40 C.F.R. § 1506.13 (2020). BLM

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remote and speculative alternatives,’ ‘only reasonable or feasible ones.’”49

However, an EIS must consider alternatives “varied enough to allow for a real,

informed choice.”50 “The range of alternatives that an agency must consider is

based on the purpose and need of the proposed agency action,” so a court must

“begin by determining whether or not the purpose and need statement was

reasonable.”51         A court then “determine[s] whether the agency considered a

reasonable range of alternatives based on its purpose and need.”52 “The existence

of a viable but unexamined alternative renders an environmental review conducted

under NEPA inadequate.”53 The “touchstone for [a court’s] inquiry is whether an




determined that since the 2020 Willow Final EIS was developed under the 1978 regulations, the
2023 SEIS would also comply with the 1978 regulations as they concern a reasonable range of
alternatives. See AR821922.
49
   City of Los Angeles v. Fed. Aviation Admin., 63 F.4th 835, 843 (9th Cir. 2023) (first quoting
Protect Our Cmtys. Found. v. Jewell, 825 F.3d 571, 580 (9th Cir. 2016); and then quoting City of
Sausalito v. O’Neill, 386 F.3d 1186, 1207 (9th Cir. 2004)); see also Headwaters, Inc. v. Bureau
of Land Mgmt., Medford Dist., 914 F.2d 1174, 1180 (9th Cir. 1990) (“Nor must an agency
consider alternatives which are infeasible, ineffective, or inconsistent with the basic policy
objectives for the management of the area.” (citation omitted)).
50
  Friends of Yosemite Valley v. Kempthorne, 520 F.3d 1024, 1039 (9th Cir. 2008) (citation
omitted).
51
  Fed. Aviation Admin., 63 F.4th at 843 (alterations omitted) (quoting Audubon Soc’y of
Portland v. Haaland, 40 F.4th 967, 981 (9th Cir. 2022)).
52
     Id. (citing Audubon Soc’y of Portland, 40 F.4th at 982).
53
  Id. at 844-45 (alteration omitted) (quoting Env’t Def. Ctr. v. Bureau of Ocean Energy Mgmt.,
36 F.4th 850, 877 (9th Cir. 2022), cert. denied sub nom. Am. Petroleum Inst. v. Env’t Def. Ctr.,
143 S. Ct. 2582 (2023)).

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EIS’s selection and discussion of alternatives fosters informed decision-making

and informed public participation.”54

         Here, Plaintiffs contend that BLM violated NEPA by failing to consider a

reasonable range of alternatives “based on a misinterpretation of its authority

under the NPRPA” that restricted its alternatives analysis to only those alternatives

that would fully develop the oil resource.55 Plaintiffs assert that the agency erred

by not considering an alternative that would allow some oil production but would

leave considerable quantities of recoverable oil in the ground. 56 The issue at the

heart of this claim is the intersection of two directives in the NPRPA. The first is

Congress’s directive to the Secretary of the Interior to “conduct an expeditious

program of competitive leasing of oil and gas in the Reserve,”57 as a result of which

the government granted non-NSO leases to ConocoPhillips, according to it the

“right to drill for, mine, extract, remove and dispose of all the oil and gas” from the

subsurface.58 The second NPRPA directive requires that, when authorizing these


 Westlands Water Dist. v. U.S. Dep’t of the Interior, 376 F.3d 853, 868 (9th Cir. 2004) (quoting
54

California v. Block, 690 F.2d 753, 767 (9th Cir. 1982)).
55
  Docket 105 at 17, 20 (Case No. 3:23-cv-00058-SLG); Docket 115 at 17-18 (Case No. 3:23-
cv-00061-SLG).
56
  Docket 105 at 23 (Case No. 3:23-cv-00058-SLG); Docket 115 at 19-20 (Case No. 3:23-cv-
00061-SLG).
57
     42 U.S.C. § 6506a(a).
58
   See AR950259. Some oil and gas leases contain “no surface occupancy” (“NSO”)
stipulations. Conner v. Burford, 848 F.2d 1441, 1444 (9th Cir. 1988). “Leases not governed by
an NSO stipulation” are called “non-NSO leases,” and non-NSO leases contain “mitigation

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oil and gas activities in the Reserve, the Secretary “mitigate reasonably

foreseeable and significantly adverse effects on the surface resources of the”

NPR-A and “assure the maximum protection” to the Teshekpuk Lake Special Area

(“TLSA”) and other areas designated by the Secretary of the Interior as containing

significant surface values.59

          This Court first considered the import of these two directives when reviewing

BLM’s 2020 ROD for the Willow Project. In 2020, BLM defined the Project’s

purpose as follows: “The purpose of the Proposed Action is to construct the

infrastructure necessary to allow the production and transportation to market of

federal oil and gas resources under leaseholds in the northeast area of the NPR-

A, consistent with the proponent’s federal oil and gas lease and unit obligations.”60

In furtherance of this purpose, “BLM asserted that ConocoPhillips’ lease rights

precluded the agency from considering alternatives concerning the configuration




stipulations” which “authorize the government to impose reasonable conditions on drilling,
construction, and other surface-disturbing activities; unlike NSO stipulations, however, they do
not authorize the government to preclude such activities altogether.” Id. The Willow leases are
non-NSO leases. Each lease provides: “Rights granted are subject to applicable laws, the
terms, conditions, and attached stipulations of this lease, the Secretary of the Interior’s
regulations and formal orders in effect as of lease issuance, and to regulations and formal
orders hereafter promulgated when not inconsistent with lease rights granted or specific
provision of this lease.” See, e.g., AR950259.
59
  42 U.S.C. § 6506a(b); 42 U.S.C. § 6504(a) (“Any exploration within . . . the Teshekpuk Lake
areas . . . shall be conducted in a manner which will assure the maximum protection of such
surface values to the extent consistent with the requirements of this Act for the exploration of
the reserve.”).
60
     SILA I, 555 F. Supp. 3d at 768.

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Case No. 3:23-cv-00061-SLG, Ctr. for Biological Diversity, et al. v. BLM, et al.
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or location of the drill pads” because ConocoPhillips had the right “to extract all the

oil and gas possible within the leased areas.”61 But the Court held in 2021 that

“[t]he leases do not grant the lessee the unfettered right to drill wherever it chooses

or categorically preclude BLM from considering alternative development

scenarios”; hence, “BLM acted contrary to law insofar as it developed its

alternatives analysis based on the view that ConocoPhillips had the right to extract

all possible oil and gas from its leases.”62 The Court also concluded that BLM’s

asserted lack of authority was “inconsistent with its own statutory responsibility to

mitigate adverse effects on the surface resources” set out in the NPRPA.63

Accordingly, the Court held that BLM’s alternatives analysis violated NEPA and

the NPRPA.64

           On remand, BLM prepared a supplemental EIS that was intended to address

the deficiencies identified by this Court in the original EIS.65 In the SEIS, BLM

identified the purpose and need of the Proposed Action as follows:

           The purpose of the Proposed Action is to construct the infrastructure
           necessary to allow the production and transportation to market of
           federal oil and gas resources in the Willow reservoir located in the
           [Bear Tooth Unit], while providing maximum protection to significant

61
     Id.
62
     Id. at 768, 805.
63
     Id. at 769 (citing 42 U.S.C. § 6506a(b)).
64
     Id. at 770.
65
     AR820696.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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          surface resources within the NPR-A, consistent with BLM’s statutory
          directives.     The need for federal action (i.e., issuance of
          authorizations) is established by BLM’s responsibilities under various
          federal statutes, including the NPRPA (as amended) and the Federal
          Land Policy and Management Act as well as various federal
          responsibilities of cooperating agencies under other statutes,
          including the Clean Water Act (CWA). Under the NPRPA, BLM is
          authorized to conduct oil and gas leasing and development in the
          NPR-A (42 USC 6506a). BLM is required to respond to the
          Proponent’s requests for [a Master Development Plan] and related
          authorizations to develop and produce petroleum in the NPR-A.66

          The Court “begin[s] by determining whether or not the purpose and need

statement was reasonable” and then “determine[s] whether the agency considered

a reasonable range of alternatives based on its purpose and need.”67 The purpose

and need statement in this case as quoted above adequately frames the

authorization of NPR-A oil and gas production while providing for the protection of

significant surface resources as directed by the NPRPA. None of the parties

dispute the reasonableness of the purpose and need statement, and the Court

similarly finds that the statement is reasonable given the NPRPA’s directives and

BLM’s responsibilities pursuant to federal law. The Court thus turns to an analysis

of whether BLM considered a reasonable range of alternatives based on this

purpose and need.




66
     AR820696-97; see also AR821927.
67
     Fed. Aviation Admin., 63 F.4th at 843 (quoting Audubon Soc’y of Portland, 40 F.4th at 981).

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         Plaintiffs assert that BLM improperly rejected alternatives that would “strand

an economically viable quantity of [recoverable] oil.”68              Plaintiffs contend that

“BLM’s erroneous view of its authority under the [NPRPA] precluded it from

evaluating any alternatives that struck a middle ground between recovering all

economically viable oil from the field and recovering no oil at all.”69 Plaintiffs

maintain that there is no real distinction between BLM’s new standard and its

previous interpretation that it must allow ConocoPhillips to extract “all possible oil”

from Willow, which the Court held to be contrary to law.70 Plaintiffs instead assert

that “[a]n alternative that substantially reduces Willow’s carbon footprint and

prohibits infrastructure within the [TLSA], while also allowing ConocoPhillips to

produce some oil from its leases, satisfies” the purpose and need for the Project.71

They contend that the purpose and need statement “calls simply for ‘the production

and transportation to market of federal oil . . . in the Willow reservoir’” and that it

does not mandate “a threshold amount of oil recovery.”72 Plaintiffs assert that a

middle ground alternative that would preclude any infrastructure in the TLSA and


68
 Docket 105 at 20 (Case No. 3:23-cv-00058-SLG) (citing AR821709-10, AR821740,
AR501470); Docket 115 at 18-19 (Case No. 3:23-cv-00061-SLG) (citing AR821958-59,
AR814575-76).
69
     Docket 170 at 17 (Case No. 3:23-cv-00061-SLG).
70
  Docket 115 at 18-19 (Case No. 3:23-cv-00061-SLG); see also Docket 105 at 20 (Case No.
3:23-cv-00058-SLG); SILA I, 555 F. Supp. 3d. at 770.
71
     Docket 115 at 24 (Case No. 3:23-cv-00061-SLG) (emphasis in original).
72
     Docket 170 at 19 (Case No. 3:23-cv-00061-SLG) (quoting AR820696).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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still allow for 71% recovery of the reservoir’s oil “plainly satisf[ies] the Project’s

purpose and need.”73

           The Court finds that BLM did consider the requisite reasonable range of

alternatives based on the Project’s purpose and need. The Ninth Circuit’s decision

in Northern Alaska Environmental Center v. Kempthorne is instructive.74 In that

case, the plaintiffs challenged the federal government’s decision to make the entire

Northwest Planning Area (“NWPA”) of the NPR-A available for leasing.75 The

plaintiffs argued that the government failed to consider as a reasonable alternative

an alternative proposed by the Audubon Society that would “add four new special

areas [in the NWPA] and, therefore, make 35 percent of the high oil potential area

unavailable for leasing.”76          The Kempthorne plaintiffs asserted that the five

alternatives the agency improperly considered proposed only full development or

no development alternatives.77 The Ninth Circuit disagreed and held that the

“consideration of the five alternatives satisfied the NEPA requirement to consider

a broad range of possible alternatives,” “[g]iven the policy objectives of the


73
   Docket 170 at 18 (Case No. 3:23-cv-00061-SLG). CBD Plaintiffs contend that “an alternative
eliminating infrastructure in the [TLSA] would have afforded that area maximum protection while
also providing access to 71 percent of the reservoir’s oil.” Docket 170 at 18 (Case No. 3:23-cv-
00061-SLG).
74
     457 F.3d 969 (9th Cir. 2006).
75
     Id. at 973.
76
     Id. at 978.
77
     Id.

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project.”78       The Ninth Circuit upheld the agency’s rejection of the Audubon

Alternative as “inconsistent with the NWPA project and statutory mandates.”79 The

circuit court held that the agency’s explanation, “coupled with [the agency’s]

willingness to incorporate several” of the Audubon Society’s recommended

mitigation measures, “satisfied the NEPA requirements to consider or properly

reject proposed alternatives.”80

           Plaintiffs assert that reliance on Kempthorne is “misplaced” because,

according to Plaintiffs, BLM in that case “did not constrain alternatives based on a

misapprehension of its authority.”81            But the Court finds that BLM did not

misapprehend its authority here. The NPR-A was set aside by Congress to be a

petroleum reserve to help meet the Nation’s need for oil and gas.82 Established in

1923, the NPR-A was originally “one of four Naval Petroleum Reserves created

from public lands to assure the Navy’s ships would have adequate petroleum




78
     Id.
79
     Id. at 978-79.
80
     Id.
81
     Docket 170 at 16 n.2 (Case No. 3:23-cv-00061-SLG).
82
  See Naval Petroleum Reserves Production Act, Pub. L. No. 94-258, 90 Stat. 303 (1976) (“An
Act to authorize the Secretary of the Interior to establish on certain public lands of the United
States national petroleum reserves the development of which needs to be regulated in a
manner consistent with the total energy needs of the Nation, and for other purposes.”).

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supplies.”83 Then an “oil embargo during the 1970s established that the Nation

had a need for oil that exceeded the needs of the Navy.”84 In response, Congress

enacted the NPRPA in 1976, “which transferred NPR-A management authority

from the Secretary of the Navy to the Secretary of the Interior.”85 And in 1980,

“Congress, driven by the fuel crisis of the previous decade, directed the Secretary

to carry out an ‘expeditious program of competitive leasing of oil and gas’ on the

Reserve.”86 Although Congress directed “maximum protection” be accorded to

significant surface values in the TLSA and other Special Areas while undertaking

oil and gas activities in the NPR-A, it still clearly envisioned that the TLSA would

be developed for oil and gas production.87 So it is with this Congressional objective

of NPR-A oil and gas development in mind—even in Special Areas, though with

greater protections in those areas—that BLM’s alternatives analysis is evaluated.88

          ConocoPhillips, as the lessee, has the right and the responsibility to fully

develop its oil and gas leases in the NPR-A subject to reasonable restrictions and


83
 ConocoPhillips Alaska, Inc. v. Alaska Oil & Gas Conservation Comm’n, __ F. Supp. 3d ___,
Case No. 3:22-cv-00121-SLG, 2023 WL 2403720, at *1 (D. Alaska Mar. 8, 2023) (citing H.R.
Rep. No. 94-81, at 5-6 (1975)).
84
  Id. (quoting N. Alaska Env’t Ctr. v. Norton, 361 F. Supp. 2d 1069, 1072 (D. Alaska 2005), aff’d
sub nom. N. Alaska Env’t Ctr. v. Kempthorne, 457 F.3d 969 (9th Cir. 2006)).
85
     Id. (first citing Pub. L. No. 94-258; and then citing 42 U.S.C. § 6503(a)).
86
     Kempthorne, 457 F.3d at 973 (quoting 42 U.S.C. § 6506a(a)).
87
     See 42 U.S.C. § 6504(a).
88
     See Kempthorne, 457 F.3d at 978.

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mitigation measures imposed by the federal government.89 The alternatives that

BLM analyzed are fully consistent with an interpretation of the purpose and need

statement that recognizes the rights and responsibilities of the lessee.90 Given the

significant surface values in the TLSA, BLM may have elected to prohibit all

infrastructure in the TLSA at the Integrated Activity Plan (“IAP”) development stage

or at the lease sale stage,91 but “the sale of a non-NSO oil or gas lease constitutes

the ‘point of commitment;’ after the lease is sold the government no longer has the

ability to prohibit potentially significant inroads on the environment.” 92 As this Court

previously recognized, “infrastructure is allowed, and indeed anticipated, within the




89
   See 43 C.F.R. § 3137.71(b)(1). See also Kempthorne, 457 F.3d at 976 (“The government
can condition permits for drilling on implementation of environmentally protective measures, and
we assume it can deny a specific application altogether if a particularly sensitive area is sought
to be developed and mitigation measures are not available. The government cannot, however,
consistent with current statutory imperatives, forbid all oil and gas development in Alaska’s
NWPA.”). The Ninth Circuit has long recognized that non-NSO leases for oil and gas
development on federal land “permit reasonable regulation of surface-disturbing activities to
reduce their impact on the environment,” but these stipulations do not “preclude the lessees
from engaging in surface-disturbing activities altogether,” including “build[ing] roads and drill[ing]
for oil, subject only to reasonable mitigation measures.” Conner, 848 F.2d at 1448-49; see also
Kempthorne, 457 F.3d at 976-77 (explaining that the oil and gas leases for the Northwest
Planning Area of the NPR-A are similar to the leases discussed in Conner).
90
  Section 4 of ConocoPhillips’ NPR-A oil and gas leases provide, in relevant part: “Lessee must
exercise reasonable diligence in developing and producing, and must prevent unnecessary
damage to, loss of, or waste of leased resources.” See, e.g., AR950260 (emphasis added).
91
     See, e.g., AR950259 (describing land included in the lease at item 3).
92
   Conner, 848 F.2d at 1451. Conner held that “the distinction between the NSO and non-NSO
leases [is] critical.” Id. at 1449. While NSO leases do not constitute “an irreversible
commitment of resources requiring the preparation of an EIS,” the government may not sell a
non-NSO lease without first preparing an EIS which includes consideration of a “no action”
alternative. Id. at 1447, 1451.

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TLSA.”93 An alternative that would leave considerable quantities of economically

recoverable oil in the ground is quite simply inconsistent with the Congressional

policy objective of resource extraction in the NPR-A. Thus, the Court rejects

Plaintiffs’ assertion that BLM need only allow “ConocoPhillips to produce some oil

from its leases” in order to satisfy the purpose and need for the Project.94 Rather,

the Court finds that BLM’s decision to consider only those alternatives that

constitute full field development, subject to reasonable mitigation measures, is

consistent with the NPRPA’s policy objectives and the purpose and need of the

Willow Project.

          In responding to a comment that critiqued the Draft SEIS’s rejection of

alternatives that would substantially restrict the quantity of oil to be extracted, BLM

explained:

          The purpose of a master development plan is to evaluate the impacts
          of full field development to ensure that [NEPA] analyses are not
          segmented[.] [T]o the extent that an alternative concept strands an
          economically viable quantity of oil, the BLM would expect to receive a
          future permit application to develop it. Such an alternative concept
          therefore does not disclose and analyze the impacts of full field
          development and is a false comparison to other action alternatives.95




93
     SILA I, 555 F. Supp. 3d at 769.
94
     Docket 115 at 24 (Case No. 3:23-cv-00061-SLG) (emphasis in original).
95
     AR821710 (see response to Comment 6501-200).

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BLM further explained that the term “fully develop” is contained in 43 C.F.R. §

3137.71(b)(1).96 This regulation, which was promulgated in accordance with the

NPRPA,97 provides that, in order for a lessee to meet its continuing oil and gas

development obligations, it must submit a plan to BLM “describ[ing] the activities

to fully develop the oil and gas field” if the lessee has “drilled a well that meets the

productivity criteria.”98 BLM explains that this “mean[s] that a lessee may not

strand such a large quantity of oil and gas that, standing alone, is economic to

develop (i.e., that would warrant construction of an additional drill pad).”99 For the

Willow Project, a partial development alternative would invite “future permit

application[s] to develop” an additional drill pad, 100 which would result in a

“piecemeal” analysis of the Project rather than the required “full field development”

and accompanying analysis.101 Further, a partial development alternative for the



96
     AR821710 (see response to Comment 6501-200).
97
   See 42 U.S.C. § 6506a(o) (“As soon as practicable after August 8, 2005, the Secretary shall
issue regulations to implement this section.”); 43 C.F.R. §§ 3130.0-1, 3130.0-2, 3130.0-3
(providing the purpose, policy, and authority for 43 C.F.R. Part 3130, “Oil and Gas Leasing:
National Petroleum Reserve, Alaska”).
98
     43 C.F.R. § 3137.71(b)(1).
99
     AR821710 (see response to Comment 6501-200).
100
      AR821710 (see response to Comment 6501-200).
101
    Docket 144 at 23 (Case No. 3:23-cv-00058-SLG). See also Docket 141 at 24 (Case No.
3:23-cv-00058-SLG) (“BLM concluded that some of Plaintiffs’ proposals to eliminate all
infrastructure in the TLSA were not viable alternatives for a master development plan because
they would strand so much recoverable oil that ConocoPhillips would certainly later apply to
build another drill site.” (citing AR821710, AR821958)).

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Project would invite challenges that BLM was “improperly segmenting the project

and failing to consider the impacts associated with drill sites that were likely to be

constructed and were sufficiently connected to the Willow project to require

consideration in a single EIS.”102            Thus, BLM’s consideration of only those

alternatives that evaluated the full extent of oil production at Willow in one Final

SEIS is reasonable and consistent with the NPRPA’s directives.103

          Plaintiffs assert that only considering alternatives that allow for full field

development is “functionally indistinguishable” from BLM’s prior statement that it

must allow the lessee to extract “all possible oil.”104 Similar to Plaintiffs’ arguments

here, one commenter on the Draft SEIS for the Willow Project stated that BLM had

“adopted a functionally indistinguishable position” from the 2020 FEIS that “seems

to . . . let ConocoPhillips develop all the oil [it] thinks is profitable to develop.”105 In

response, however, BLM explained that the Final SEIS “does not assume that

ConocoPhillips has the right to extract all possible oil and gas from its leases,” and


102
    Docket 144 at 26 (Case No. 3:23-cv-00058-SLG). See also AR509715 (commenting that
“BLM should be clear about the true scope of Willow and should not allow Conoco to piecemeal
its proposal”).
103
   See AR821737 (“The purpose of a master development plan is to evaluate the full
development of an oil prospect to disclose all impacts related to the proposed project and
prevent segmentation of the [NEPA] analysis . . . .”).
104
      Docket 115 at 18-19 (Case No. 3:23-cv-00061-SLG).
105
    AR821709 (see Comment 6501-193). “However, 43 CFR 3137.71(b)(1) requires lessees to
‘fully develop’ the oil and gas field, meaning that a lessee may not strand such a large quantity
of oil and gas that, standing alone, is economic to develop (i.e., that would warrant construction
of an additional drill pad).” AR821709 (see response to Comment 6501-193).

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recognized that BLM “may condition Project approval to protect surface resources

even if doing so reduces the amount of oil and gas that can be profitably

produced.”106 The Court agrees. As BLM noted in the Final SEIS, compared to

Alternative B, Preferred Alternative E would result in “15.4 million barrels (2.45%)

less production” of oil.107 This is certainly a distinguishable difference from BLM’s

previous “all possible oil” standard, and the Court finds that BLM’s Final SEIS

alternatives analysis remedies this deficiency in the 2020 FEIS.

         Furthermore, based on the Project’s stated purpose and need, BLM

conducted an adequate analysis of possible alternatives, including considering

alternatives that would reduce or eliminate infrastructure in the TLSA, as sought

by Plaintiffs.108 “BLM considered over 50 alternative concepts in developing the

range of alternatives included in the Draft Supplemental EIS; those that did not




106
      AR821709 (see response to Comment 6501-193).
107
   AR820777. Alternative E as modified in the ROD would result in “52.9 million barrels (8.4%)
less production relative to Alternative B,” an almost 6% further reduction of production than that
contemplated by Alternative E in the Final SEIS. AR824901.
108
     In the Final SEIS, BLM dedicated 250 pages to Alternatives Development. See AR821912-
14 (table of contents for Appendix D.1 of the Final SEIS, Alternatives Development, showing
about 250 pages of analysis). BLM explained that it “began the alternatives development
process” for the 2023 Final SEIS “with a hard look at the NPR-A Special Areas, particularly the
TLSA and CRSA.” AR821948. This “hard look” involved (1) review of the “comments submitted
during the 2020 EIS process for suggestions of alternatives” to protect surface resources in the
NPR-A Special Areas; (2) the development of a map to show “a baseline for how important
surface resources overlay the sub-surface resources”; and (3) requests for additional
information from ConocoPhillips regarding subsurface resources and “drilling reach polygons
. . . to illustrate how much of the subsurface resource could be accessed from a given drill site
pad location.” AR821948.

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meet the screening criteria were eliminated from full analysis.”109 Specifically,

BLM’s consideration of Alternative Component Numbers 36 and 44 rebuts

Plaintiffs’ contention that BLM “failed to explain its rejection of alternatives” that

avoid placing any infrastructure in the NPR-A Special Areas as “inconsistent with

the project’s purpose and need.”110 Alternative Component Number 36 would have

rerouted the access road so it would be outside of the Colville River Special Area

(“CRSA”).111 And Alternative Component Number 44 would have removed all

infrastructure, including gravel pads, gravel roads, and pipelines, from within the

TLSA, permitting construction of three drill site pads outside of the TLSA.112

          As required by its regulations, BLM “briefly discuss[ed] the reasons for”

eliminating these alternatives from further consideration.113 BLM stated that it

eliminated Alternative Component Number 36 from further analysis because the

proposed access road outside of the CRSA “would pass directly over or in very

close proximity to an observed yellow-billed loon nest,” and thereby result in more




109
      AR821710 (see response to Comment 6501-201).
110
      Docket 105 at 24 (Case No. 3:23-cv-00058-SLG); AR821953.
111
      AR821953.
112
      AR821953.
113
      40 C.F.R. § 1502.14(a).

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impacts to these loons relative to other alternatives.114                And BLM eliminated

Alternative Component Number 44 from further analysis because, while it “would

theoretically . . . provide maximum protection to important surface resources in the

TLSA,” it “would not meet the Project’s purpose and need and would strand an

economically viable quantity of recoverable oil.”115                     BLM explained that

“[a]pproximately 67% [of ConocoPhillips’ Bear Tooth Unit] leases by surface area

are located in the TLSA.”116 If no new Project infrastructure is constructed within

the TLSA, it “would completely eliminate access to oil and gas resources in several

BTU leases located in the TLSA” and “substantially reduce access to such

resources in additional BTU leases located in the TLSA.”117                         These brief

explanations of why each of these alternatives were removed from further

consideration satisfied NEPA’s requirements.118




114
   AR821957. BLM explained that this would be less compliant with the 2013 NPR-A IAP,
which allows for infrastructure in the CRSA but “would require an exception to encroach on [the]
yellow-billed loon nesting setback buffer.” AR821957.
115
      AR821965, AR821958.
116
      AR821965.
117
    AR821965. This is because the alternative “would strand all of the oil that would be
accessed by drill site BT4 and some of the oil that would be accessed from drill site BT2.” BLM
further explained that this alternative would “create significant overlap in drilling reach between
drill sites BT1 and BT2, which would have the net effect of having all of the surface impacts of a
road and two pads but with far less resource recovery.” AR821965.
118
      See 40 C.F.R. § 1502.14(a); Kempthorne, 457 F.3d at 978 (citing 40 C.F.R. § 1502.14(a)).

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            Although BLM did not give further consideration to Alternative Component

Numbers 36 or 44, BLM did consider a range of alternatives on the scope of

infrastructure development in the NPR-A Special Areas as part of the Final

SEIS.119 And while BLM did not, due to its interpretation of the Willow Project’s

purpose and need, implement Plaintiffs’ suggestions to prohibit all TLSA

infrastructure, “the Preferred Alternative it did adopt included some protections

similar to those” that Plaintiffs sought, such as less TLSA infrastructure, much the

same as BLM did with the Audubon Alternative in Kempthorne.120 For just as

BLM’s “consideration of the five alternatives [in Kempthorne] satisfied the NEPA

requirement” “[g]iven the policy objectives of the project,” so too does BLM’s in-

depth consideration of the five alternatives here satisfy NEPA, given the NPRPA’s

policy objectives and the Willow Project’s purpose and need.121 And while Plaintiffs



119
   For example, Alternative C consisted of up to 12.5 miles of gravel road and gravel pads
(179.6 acres total) in the TLSA, while Alternative E consisted of up to 5 miles of gravel road and
gravel pads (61.2 acres total) in the TLSA. BLM also considered 12.2 miles of pipeline in the
TLSA as part of Alternative C, versus 4.9 miles of pipeline in the TLSA as part of Alternative E.
Similarly, BLM considered 8.1 acres of gravel road development in the CRSA as part of
Alternatives B and C, and 0.5 acres of gravel pad development in the CRSA as part of
Alternative D. AR820751. In addition, BLM analyzed Alternative A, the No Action Alternative,
which would prohibit all proposed project activities on ConocoPhillips’ Willow leaseholds,
including in the TLSA and the CRSA. AR820730.
120
   See Kempthorne, 457 F.3d at 978 (“Although BLM chose not to adopt the entire Audubon
Alternative, the Preferred Alternative it did adopt included some protections similar to those in
the Audubon Alternative. Since BLM adopted components of the Audubon Alternative in
developing the Preferred Alternative, the BLM adequately examined a range of viable
alternatives in preparing the FEIS.” (citing Muckleshoot Indian Tribe v. U.S. Forest Serv., 177
F.3d 800, 814 (9th Cir. 1999))).
121
      Id.

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contend that Alternative E, the Preferred Alternative, “is hardly different from the

other three” alternatives first considered in the 2020 FEIS,122 BLM explained that

Alternative E “reduces infrastructure in the TLSA by more than 40% relative to

other action alternatives.”123 At the same time, Alternative E as modified in the

ROD would still “produce approximately 94% of the total production for Alternative

E as analyzed in the Final [SEIS].”124 In sum, the full field development framework

for the alternatives analysis undertaken in the Final SEIS strikes an appropriate

balance between the NPRPA’s two directives of conducting an expeditious oil and

gas leasing program in the NPR-A while protecting significant surface resources.

          Further, Plaintiffs have not “met [their] burden, as [parties] challenging an

agency’s failure to consider an alternative, ‘to show that the alternative is

viable.’”125      “[A]n EIS’s range of alternatives” is reviewed under the “rule of

reason”—an EIS “need not consider an infinite range of alternatives, only

reasonable or feasible ones.”126 Although Plaintiffs advocate that no infrastructure

be built in the TLSA, they fail to show how such an alternative would appropriately



122
      Docket 115 at 21 (Case No. 3:23-cv-00061-SLG).
123
      AR821859 (see response to Comment 30962-19).
124
      AR824901.
125
   Fed. Aviation Admin., 63 F.4th at 846-47 (first quoting Alaska Survival v. Surface Transp.
Bd., 705 F.3d 1073, 1087 (9th Cir. 2013); and then quoting Audubon Soc’y of Portland, 40 F.4th
at 983).
126
      Westlands Water Dist., 376 F.3d at 868 (citation omitted).

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meet the two objectives of the NPRPA: extracting the oil in the Reserve while

mitigating the impact on the surface resources caused by that extraction. In

addition, Plaintiffs do not explain why another alternative is necessary to foster an

informed decision and public participation.               In this regard, the Ninth Circuit’s

decision in Montana Wilderness Ass’n v. Connell is instructive.127 In that case,

BLM considered six different airstrip alternatives: two would open 10 airstrips, one

would open seven airstrips, another would open six airstrips, another would open

five airstrips year-round and a sixth seasonally, and the final alternative would

open no airstrips.         The plaintiffs contended that BLM unreasonably failed to

consider a “middle ground” alternative that would have opened somewhere

between zero and six airstrips.128             The Ninth Circuit rejected this argument,

explaining that “[a]lthough BLM could have included an alternative that opened

more than zero but less than six alternatives, NEPA did not compel the agency to

do so.”129 The circuit court explained that “the touchstone of the NEPA inquiry is

‘whether an EIS’s selection and discussion of alternatives fosters informed

decision-making and informed public participation.’”130 The circuit court held that




127
      725 F.3d 988 (9th Cir. 2013).
128
      Id. at 1004.
129
      Id. at 1004-05.
130
      Id. at 1005 (quoting Westlands Water Dist., 376 F.3d at 868).

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the plaintiffs in that case failed to show how consideration of another alternative

would have been “necessary to foster” these goals.131

            Similarly in this case, BLM considered a range of alternatives with respect

to the scope of development in the TLSA, ranging from 61.2 acres to 179.6 acres

of gravel road and gravel pad construction and from 4.9 to 12.2 miles of pipeline

construction.132 And similarly here, while “Plaintiffs appear to want . . . more

analysis of additional, unspecified variants somewhere between the no-action

alternative and Alternative E,” they have not shown “why another alternative was

necessary to foster informed decisionmaking and public participation.”133

            CBD Plaintiffs also cite to three cases in support of their position: Center for

Biological Diversity v. National Highway Traffic Safety Administration,134 Center for

Biological Diversity v. U.S. Fish & Wildlife Service,135 and Wild Fish Conservancy

v. National Park Service.136 These cases, however, are inapposite. In National

Highway Traffic Safety Administration, the agency acknowledged that the range of

alternatives it had considered was “very narrow and minimal”; the court explained


131
      Id.
132
      AR820751.
133
      Docket 137 at 34 (Case No. 3:23-cv-00058-SLG); Mont. Wilderness Ass’n, 725 F.3d at 1005.
134
      538 F.3d 1172 (9th Cir. 2008).
135
      409 F. Supp. 3d 738 (D. Ariz. 2019), aff’d, 33 F.4th 1202 (9th Cir. 2022).

  8 F. Supp. 3d 1289 (W.D. Wash. 2014), aff’d, 687 F. App’x 554 (9th Cir. 2017). See Docket
136

115 at 22-23 (Case No. 3:23-cv-00061-SLG); Docket 170 at 17 (Case No. 3:23-cv-00061-SLG).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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how the agency had improperly circumscribed its discretion.137 Here, however,

“BLM considered a wide range of [Master Development Plan] alternatives with

significant differences in the number of drill sites, size of gravel footprint, number

of wells, and miles of gravel and ice roads.”138 In U.S. Fish & Wildlife Service, the

court held that the agency had applied the wrong regulations, a mistake that

“infected the FEIS and led to the [agency] misinforming the public and failing to

consider reasonable alternatives within the scope of its duties.”139 In the instant

case, BLM considered the appropriate regulations in developing its viable

alternatives consistent with its obligations under the NPRPA. And in Wild Fish

Conservancy, the district court held that the agency failed to give meaningful

consideration to an alternative “between 0% and 82%” release rate for hatchery

fish.140      That case, however, concerned the management of a sustainable

resource; it does not pertain to the extraction of a non-renewable resource on

public lands set aside as a petroleum reserve. Thus, for all the reasons set forth

above, the Court finds that BLM’s alternatives analysis for the Willow Project

complied with NEPA.



137
   538 F.3d at 1217-19 (agency setting average fuel economy standards offered ranges that
varied from only 22.2 to 23.6 mpg).
138
      Docket 141 at 21 (Case No. 3:23-cv-00058-SLG); AR820730-33, AR822115-20.
139
      409 F. Supp. 3d at 764.
140
      8 F. Supp. 3d at 1300-01.

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              b. Greenhouse Gas Emissions

          Plaintiffs assert that Federal Defendants violated NEPA in their analysis of

the greenhouse gas (“GHG”) emissions from reasonably foreseeable future

actions that will be induced by the Willow Project.141 Plaintiffs’ GHG emissions

arguments focus on a potential future development: Greater Willow, also referred

to as West Willow.142

          “NEPA requires agencies to evaluate the direct and indirect effects of the

proposed action.”143 “[D]irect effects occur ‘at the same time and place’ as the

proposed project, while indirect effects occur ‘later in time or [are] farther removed

in distance.’”144 “Indirect effects may include growth inducing effects and other

effects related to induced changes in the pattern of land use, population density or

growth rate, and related effects on air and water and other natural systems,

including ecosystems.”145 An agency need only consider “indirect effects that are

‘reasonably foreseeable’ or those that ‘a person of ordinary prudence would take




141
  Docket 105 at 30 (Case No. 3:23-cv-00058-SLG); Docket 115 at 24 (Case No. 3:23-cv-
00061-SLG).
142
  Docket 105 at 30-31 (Case No. 3:23-cv-00058-SLG); Docket 115 at 26 (Case No. 3:23-cv-
00061-SLG).
143
   Ctr. for Biological Diversity v. Bernhardt, 982 F.3d 723, 737 (9th Cir. 2020) [hereinafter
Liberty] (citing 40 C.F.R. § 1502.16).
144
      Id. (quoting 40 C.F.R. § 1508.8(a), (b)).
145
      40 C.F.R. § 1508.8(b).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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into account in reaching a decision.’”146 In addition to direct and indirect impacts,

a cumulative impact “results from the incremental impact of the action when added

to other past, present, and reasonably foreseeable future actions”; such impacts

“can result from individually minor but collectively significant actions taking place

over a period of time.”147 A cumulative impacts analysis “must be more than

perfunctory; it must provide ‘a useful analysis of the cumulative impacts of past,

present, and future projects.’”148 “[A]n agency must provide ‘some quantified or

detailed information; . . . [g]eneral statements about possible effects and some risk

do not constitute a hard look absent a justification regarding why more definitive

information could not be provided.’”149

          In 2021, this Court held that “BLM’s exclusion of foreign emissions in its

alternatives analysis in the Willow EIS was arbitrary and capricious.”150 This

finding was based on the Ninth Circuit’s decision in Center for Biological Diversity

v. Bernhardt (“Liberty”), which concluded that, based on “basic economic


146
  Liberty, 982 F.3d at 737 (alteration omitted) (first quoting 40 C.F.R. § 1508.8(b); then quoting
EarthReports, Inc. v. FERC, 828 F.3d 949, 955 (D.C. Cir. 2016); and then citing 40 C.F.R. §
1502.22(b)).
147
   40 C.F.R. § 1508.7. In this order, “effects” is used interchangeably with “impacts” when
discussing direct, indirect, and cumulative effects of reasonably foreseeable future actions.
148
  Ocean Advocs. v. U.S. Army Corps of Eng’rs, 402 F.3d 846, 868 (9th Cir. 2005) (quoting
Kern v. Bureau of Land Mgmt., 284 F.3d 1062, 1075 (9th Cir. 2002)).
149
   Id. (quoting Neighbors of Cuddy Mountain v. U.S. Forest Serv., 137 F.3d 1372, 1379-80 (9th
Cir. 1998)).
150
      SILA I, 555 F. Supp. 3d at 765.

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principles,” the production of oil from the Liberty project would increase worldwide

oil consumption.151 The Ninth Circuit thus held that “[e]missions resulting from the

foreign consumption of oil [produced at Liberty] are . . . a ‘reasonably foreseeable’

indirect effect of drilling.”152 Therefore, the Circuit Court held that an EIS must

“either give[] a quantitative estimate of the downstream greenhouse gas emissions

that will result from consuming oil abroad, or explain[] more specifically why it could

not have done so, and provide[] a more thorough discussion of how foreign oil

consumption might change the carbon dioxide equivalents analysis.”153

         In the Final SEIS, BLM rectified this deficiency in the 2020 FEIS by including

foreign GHG emissions in its alternatives analysis for the Willow Project.154 Neither

set of Plaintiffs challenge that analysis in this appeal.                  Rather, Plaintiffs now



151
   982 F.3d at 736 (“If oil is produced from Liberty, the total supply of oil in the world will rise.
Increasing global supply will reduce prices. Once prices drop, foreign consumers will buy and
consume more oil.”).
152
   Id. at 738 (citing Mid States Coal. for Progress v. Surface Transp. Bd., 345 F.3d 520, 549
(8th Cir. 2003)).
153
   Id. at 740 (internal quotation marks omitted) (quoting Sierra Club v. FERC, 867 F.3d 1357,
1374 (D.C. Cir. 2017)). The 2019 version of 40 C.F.R. § 1502.22 requires an agency, when
there is “incomplete or unavailable information,” to explain “that the information is lacking, its
relevance, a summary of any existing credible evidence evaluating the foreseeable adverse
impacts, and the agency’s evaluation of the impacts based upon ‘theoretical approaches or
research methods generally accepted in the scientific community.’” Liberty, 982 F.3d at 739
(quoting 40 C.F.R. § 1502.22(b)); see discussion supra note 48 (explaining the reasons for
using the 2019 version of the Code of Federal Regulations). The 2019 version of 40 C.F.R. §
1502.22 can be accessed at the National Archives eCFR website,
https://www.ecfr.gov/on/2019-07-24/title-40/chapter-V/part-1502/section-1502.22 (last visited
Nov. 3, 2023).
154
      AR821126.

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challenge the GHG emissions analysis for West Willow.155 Currently, “West Willow

is an oil and gas discovery with two exploration wells . . . [that] represent the

general potential for future activity, but there is no certainty as to whether, how, or

when this discovery could be developed.”156 However, the Final SEIS identifies

West Willow as a reasonably foreseeable future action (“RFFA”) that is a growth-

inducing impact of the Willow Project, and estimates that West Willow could

produce up to 75 million barrels of oil, with development starting after 2035.157

         SILA Plaintiffs maintain that because the development of West Willow is an

RFFA, “BLM was required to do a quantified analysis of the reasonably

foreseeable impacts of the [West] Willow development’s [GHG] emissions but

failed to do so.”158 CBD Plaintiffs maintain that “BLM was separately required to

analyze West Willow’s downstream emissions and the downstream emissions

from additional foreseeable oil development induced by Willow as indirect

155
  Docket 105 at 30-31 (Case No. 3:23-cv-00058-SLG); Docket 115 at 26 (Case No. 3:23-cv-
00061-SLG).
156
      AR821124.
157
      AR821122, AR821124, AR822689.
158
   Docket 155 at 24-25 (Case No. 3:23-cv-00058-SLG). The two exploration wells in Greater
Willow are called Greater Willow 1 (“GW1”) and Greater Willow 2 (“GW2”). AR821124. The
Court agrees with Plaintiffs and ConocoPhillips that West Willow is an RFFA; the Court rejects
Federal Defendants’ position that West Willow is not a “proposed action” and therefore does not
require any indirect or cumulative impacts analyses. See Docket 137 at 36 (Case No. 3:23-cv-
00058-SLG). Federal Defendants cite to a holding that was expressly withdrawn by the Ninth
Circuit. Docket 137 at 36 n.9 (Case No. 3:23-cv-00058-SLG) (citing Lands Council v. Powell,
395 F.3d 1019, 1023 (9th Cir. 2005)). The Lands Council court specifically “deleted in their
entirety” the language that Federal Defendants cite regarding proposed actions. See Lands
Council, 395 F.3d at 1022-23.

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effects.”159 CBD Plaintiffs assert that the GHG emissions from the 75 million

barrels of oil that West Willow may produce were “not disclosed anywhere in the

[Final] SEIS,” nor were they included in the 2020 IAP for the development of the

entire NPR-A.160 Rather, CBD Plaintiffs note that “it appears the IAP assessment

specifically excludes West Willow from its downstream emissions analysis.”161

          Plaintiffs’ assertions that the Final SEIS violates NEPA in its GHG emissions

analysis for West Willow are unfounded. “In 2012, BLM completed an IAP/EIS that

analyzed development scenarios and related environmental consequences for all

BLM-managed federal lands and oil and gas resources within the NPR-A . . . .”162

The ROD for that IAP/EIS was issued in 2013. 163 BLM then issued a revised

IAP/EIS and ROD in 2020, but after BLM “was directed [by court order] to

reevaluate the 2020 NPR-A IAP,” it issued a new IAP ROD in 2022.164 The 2022

IAP ROD designated “approximately 11.8 million acres (52 percent) of the

approximately 22.8 million acres subsurface estate managed by the BLM in the


159
   Docket 170 at 21-22 (Case No. 3:23-cv-00061-SLG) (emphasis omitted) (first citing 40
C.F.R. § 1508.8(b); and then citing Liberty, 982 F.3d at 737-38).
160
      Docket 170 at 25-26 (Case No. 3:23-cv-00061-SLG).
161
  Docket 115 at 29 n.6 (Case No. 3:23-cv-00061-SLG) (citing FWS_AR364553,
FWS_AR363937, FWS_AR364805, AR822689); Docket 170 at 26 (Case No. 3:23-cv-00061-
SLG).
162
      AR820723.
163
      AR820723.
164
      AR820723.

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NPR-A . . . for oil and gas leasing,” including land within the TLSA. 165 “The

remaining approximately 11 million acres (48 percent) of the NPR-A are closed to

oil and gas leasing . . . in order to protect and conserve important surface resources

and uses in these areas.”166 The Willow Project Final SEIS “tiers to the 2012 and

2020 IAP/EISs.”167

         That BLM derived its analysis of Willow’s cumulative GHG emissions

impacts from the 2020 IAP is reasonable; “incorporating by reference the general

discussions” from the IAP is permitted.168 As this Court previously noted, the “Ninth

Circuit has held that an agency may group together several projects in its

cumulative impacts analysis, including RFFAs.”169                    Here, the Final SEIS

incorporates by reference the 2020 IAP’s projected GHG emissions discussion in




165
      AR516640.
166
      AR516640.
167
   AR820723; see 40 C.F.R. § 1508.28 (2019) (“Tiering refers to the coverage of general
matters in broader environmental impact statements . . . with subsequent narrower statements
or environmental analyses (such as . . . site-specific statements) incorporating by reference the
general discussions and concentrating solely on the issues specific to the statement
subsequently prepared.”). See discussion supra note 48 (explaining the reasons for using the
2019 version of the Code of Federal Regulations). The 2019 version of 40 C.F.R. § 1508.28
can be accessed at the National Archives eCFR website, https://www.ecfr.gov/on/2019-11-
28/title-40/chapter-V/part-1508/section-1508.28 (last visited Nov. 3, 2023).
168
  W. Watersheds Project v. Abbey, 719 F.3d 1035, 1048 (9th Cir. 2013) (quoting 40 C.F.R. §
1508.28); see discussion supra note 167.
169
  SILA I, 555 F. Supp. 3d at 782 (citing Cascadia Wildlands v. Bureau of Indian Affs., 801 F.3d
1105, 1112 (9th Cir. 2015)).

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the “Cumulative Impacts to Climate Change” section.170 The 2020 IAP discussed

“low development” and “medium development” scenarios for the NPR-A, where

“additional satellite developments would be added in the Bear Tooth Unit and

connected to the Willow development.”171                   It then specifically estimated

downstream GHG emissions for future development scenarios in the NPR-A,

including both “low and high” hypothetical emissions.172                Thus, the 2020 IAP

included estimates for downstream GHG emissions from developments like West

Willow in these future development scenarios. Furthermore, the Final SEIS used

“the higher end of the . . . NPR-A range of projected emissions,” thereby capturing

the full potential growth-inducing impacts by the Willow Project.173 And the Final

SEIS made a comprehensive analysis, including the cumulative effects of Willow’s

“direct and indirect emissions, the increase in downstream foreign oil consumption

emissions, existing GHG emissions sources on the North Slope . . . , and GHG



170
   See AR821126 (referencing “BLM 2020b” in the third paragraph). The Final SEIS references
the 2012 IAP/EIS as “BLM 2012c,” the 2020 IAP/EIS as “BLM 2020b,” and the 2022 IAP ROD
as “BLM 2022b.” See AR820723 (Section 1.3, National Petroleum Reserve in Alaska). The
Final SEIS also incorporates by reference the 2022 IAP ROD’s discussion of projected annual
NPR-A direct and indirect emissions. AR821126.
171
      FWS_AR363937-38.
172
      FWS_AR364010-11.
173
    AR821126 (“Using the higher end of the Coastal Plain and NPR-A range of projected
emissions, the cumulative annual average of gross GHG emissions from the Project, the
Coastal Plain, NPR-A, and other North Slope emissions would be approximately 95.60 MMT
(i.e., about 1.46% of the 2019 U.S. GHG inventory and 2.9% to 3.0% of U.S. net GHG
emissions target for 2030).”).

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emissions from the West Willow discovery.”174 Therefore, even if West Willow’s

projected downstream emissions were not specifically included in the IAP analysis

that was incorporated into the Final SEIS, the IAP analysis, with its low to high

range of projected GHG emissions from future potential projects in the NPR-A,

gives readers and the decision maker sufficient information regarding the

cumulative effects of GHG emissions from future development that may be

induced by the Willow Project.175

          SILA Plaintiffs additionally assert that BLM erred in its estimate of the

indirect effects of West Willow’s GHG emissions. Specifically, they point out that

BLM estimated the annual GHG emissions from West Willow “at approximately

8,500 metric tons from construction, 48,500 metric tons from development drilling,

and 8,500 metric tons from routine operations.”176 SILA Plaintiffs assert, however,


174
  AR821126. The Final SEIS includes quantified values of the estimated emissions. See also
AR820760-62 (discussing trends in and climate change impacts from GHG emissions);
AR820770-73 (tables on GHG emissions estimates and social costs of GHG emissions);
AR822432-73 (Appendix E.2A, Climate and Climate Change Technical Appendix).
175
    CBD Plaintiffs contend that the IAP “considered West Willow as a component of Willow and
excluded it from emissions analysis as a planned development” in the IAP. Docket 170 at 26
(Case No. 3:23-cv-00061-SLG). If in fact West Willow was not included in the IAP emissions
analysis, its exclusion is inconsequential. The Final SEIS included the “cumulative effects of
Willow’s downstream emissions in the context of all such emissions from future development” in
the NPR-A and across the North Slope. Docket 141 at 26 (Case No. 3:23-cv-00058-SLG)
(emphasis in original) (citing AR821126). The Final SEIS estimated West Willow’s resource
potential at approximately 75 million barrels of oil, and the IAP estimated that, under a high
development scenario, “peak production from NPR-A developments could reach a maximum . . .
[t]otal lifetime production” of approximately 2.6 billion barrels of oil. AR821124;
FWS_AR364559. Thus, under a high development scenario, West Willow’s potential of 75
million barrels would constitute 2.9% of peak NPR-A production.
176
      Docket 105 at 32 (Case No. 3:23-cv-00058-SLG).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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that “when quantifying [West] Willow’s combined climate impacts and emissions,”

BLM, “without explanation,” “included only the 48,500 metric tons from

development drilling,” but not the emissions from construction and routine

operations.177 The exclusion of these potential emissions from West Willow is

inconsequential; as ConocoPhillips points out, the Final SEIS estimated future

development impacts of up to 370,000 metric tons of annual direct emissions and

6,200,000 metric tons of annual indirect emissions based on aggressive

development scenarios.178             The Final SEIS contains “a reasonably thorough

discussion of the significant aspects of the probable environmental consequences”

of Willow’s growth-inducing impacts, allowing for meaningful public participation

and informed decision-making about the Willow Project.179

          CBD Plaintiffs rely on four cases in support of their position regarding the

requirement to address induced growth: City of Davis v. Coleman;180 Natural

Resources Defense Council, Inc. v. Department of Energy;181 Barnes v. U.S.




177
      Docket 105 at 32 (Case No. 3:23-cv-00058-SLG).
178
    Docket 141 at 29 (Case No. 3:23-cv-00058-SLG); see also Audubon Soc’y of Portland, 40
F.4th at 984 (“[W]e do not ‘fly-speck’ [the agency’s] analysis and ‘hold it insufficient on the basis
of inconsequential, technical deficiencies.’” (citation omitted)).
179
      Fed. Aviation Admin., 63 F.4th at 849 (quoting Audubon Soc’y of Portland, 40 F.4th at 984);
180
      521 F.2d 661 (9th Cir. 1975).
181
      Case No. C-04-04448 SC, 2007 WL 1302498 (N.D. Cal. May 2, 2007).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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Department of Transportation;182 and Ocean Advocates v. U.S. Army Corps of

Engineers.183 However, all four cases involved an agency’s failure to prepare an

EIS altogether and addressed whether potential growth-inducing impacts could

trigger an EIS. As such, they are inapposite here.

            For the foregoing reasons, the Court finds that the Final SEIS appropriately

analyzed the indirect and cumulative GHG emissions impacts of the Willow Project

and provided information “sufficient for the decision maker and the public to

understand the potential scope and impacts of Greater Willow” and other growth-

inducing impacts that Willow may cause as required by NEPA.184

      II.      Naval Petroleum Reserves Production Act

            In conjunction with their NEPA claims, SILA Plaintiffs contend that BLM

violated the NPRPA by failing to consider a reasonable range of alternatives and

arbitrarily limiting its authority.185 The Court rejects this argument for the same

reasons that it has upheld BLM’s alternatives analysis under NEPA.186

            CBD Plaintiffs maintain that BLM violated the NPRPA by “failing to

reasonably explain its decision not to adopt an alternative or mitigation measures


182
      655 F.3d 1124 (9th Cir. 2011).
183
      402 F.3d 846. See Docket 115 at 25 (Case No. 3:23-cv-00061-SLG).
184
      SILA I, 555 F. Supp. 3d at 781.
185
      Docket 105 at 17 (Case No. 3:23-cv-00058-SLG).
186
      See discussion supra Section I.a.

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to limit Willow’s downstream emissions,” since these emissions would “exacerbate

climate harm to the surface resources of the Reserve.”187 Similar to their NEPA

claims, CBD Plaintiffs suggest that BLM should have considered alternatives that

“reduc[ed] total oil production or delay[ed] production” in order to “meaningfully

reduce carbon emissions.”188

          CBD Plaintiffs’ assertion that BLM violated the NPRPA because it failed to

address the impact that Willow’s GHG emissions may have to the surface

resources of the NPR-A is unpersuasive.189 While one might generally conclude

that climate change can damage the NPR-A’s surface resources, CBD Plaintiffs

do not causally link how GHG emissions from the Willow Project would specifically

harm NPR-A surface resources.190 As discussed above, the “purpose of the


187
      Docket 115 at 30 (Case No. 3:23-cv-00061-SLG).
188
      Docket 115 at 31 (Case No. 3:23-cv-00061-SLG).
189
      Docket 115 at 30 (Case No. 3:23-cv-00061-SLG).
190
   Indeed, case law suggests that “attempting to establish a causal nexus” in this context “may
be a particularly challenging task.”

          This is so because there is a natural disjunction between Plaintiffs’ localized
          injuries and the greenhouse effect. Greenhouse gases, once emitted from a
          specific source, quickly mix and disperse in the global atmosphere and have a long
          atmospheric lifetime. Current research on how greenhouse gases influence global
          climate change has focused on the cumulative environmental effects from
          aggregate regional or global sources. But there is limited scientific capability in
          assessing, detecting, or measuring the relationship between a certain GHG
          emission source and localized climate impacts in a given region. As the U.S.
          Geological Survey observed, “[i]t is currently beyond the scope of existing science
          to identify a specific source of CO2 emissions and designate it as the cause of
          specific climate impacts at an exact location.”


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NPRPA is to increase the production of oil” while taking measures that “the

Secretary deems necessary or appropriate to mitigate reasonably foreseeable and

significantly adverse effects on the surface resources of the [NPR-A].”191 While

CBD Plaintiffs are correct that the impact on surface resources should be

mitigated, the Secretary in this context has broad discretion in how to protect NPR-

A surface resources, needing only to do so as the Secretary “deems necessary or

appropriate,” and only for “reasonably foreseeable and significantly adverse

effects.”192 In any event, the Final SEIS and the ROD discussed and implemented

numerous “operating procedures, design features, and other mitigation measures

specifically designed to provide maximum protection to TLSA surface resources,

and to avoid or mitigate reasonably foreseeable and significantly adverse impacts

to other NPR-A surface resources.”193 And Alternative E, as modified in the ROD,




Wash. Env’t Council v. Bellon, 732 F.3d 1131, 1143 (9th Cir. 2013) (emphasis added) (citation
omitted).
191
      Docket 141 at 35 (Case No. 3:23-cv-00058-SLG) (emphasis omitted); 42 U.S.C. § 6506a(b).
192
      42 U.S.C. § 6506a(b).
193
   Docket 137 at 39-40 (Case No. 3:23-cv-00058-SLG) (citing AR824891, AR824898-99,
AR824920-92). The Final SEIS discusses mitigation measures in Appendix I (Avoidance,
Minimization, and Mitigation). AR824891. The ROD discusses the mitigation measures it
adopted from the Final SEIS in Appendix A, Mitigation Measures. AR824891. Further, the
ROD discusses mitigation measures analyzed in the Final SEIS but not adopted by the ROD in
Appendix A, Section 4.0, “which includes BLM’s rationale for not adopting the measures.”
AR824891. CBD Plaintiffs’ assertion that “BLM never explained its decision not to explore any
other mitigation measures that would limit climate harms to surface resources” is without merit.
See Docket 115 at 34 (Case No. 3:23-cv-00061-SLG) (emphasis in original).

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would result in “a total reduction of indirect [carbon dioxide equivalent] emissions

of 21,750,000 metric tons” as compared to the previously selected Alternative B.194

          CBD Plaintiffs point to three specific measures that they assert “BLM

arbitrarily rejected”: (1) BLM rejected changing the Project’s operating term from

30 years to no more than 20 years; (2) BLM declined to periodically review its

NEPA analysis in the event ConocoPhillips recovered higher amounts of oil than

anticipated; and (3) BLM rejected a measure to mitigate GHG emissions through

land reforestation.195        As to the first point, BLM explained that “[a]ll project

alternatives are designed and evaluated based on a full 30-year field life consistent

with the Master Development Plan for the Bear Tooth Unit.”196 The Final SEIS

explained that the Project’s field life is estimated to be 30 years for Alternatives B,

C, and E, or 31 years for Alternative D.197 Ceasing operations after 20 years would

be inconsistent with full field development. Thus, BLM’s decision to use a 30-year

field life is logical and not arbitrary.198 As to the second point, BLM explained that

periodically reviewing its NEPA analysis “would provide no additional reduction of



194
      AR824901.
195
      Docket 115 at 33 (Case No. 3:23-cv-00061-SLG).
196
      AR824972.
197
   AR820743. The ROD notes, however, that “[s]election of Alternative E would reduce both
the scope and scale of development and resulting production, thereby reducing GHG
emissions.” AR824972.
198
      See discussion supra Section I.a.

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known Project effects,” and that such re-analysis is not required by regulation

because the “suggested points of re-analysis are not tied to specific BLM action.”199

While CBD Plaintiffs assert that BLM’s position is unsupported, the Court finds that

BLM’s rejection of this measure for these reasons is not arbitrary or capricious and

is consistent with its statutory directives.200 As to the third point, BLM explained

that a reforestation measure “conflicts with and duplicates current initiatives, both

from the industry and government perspective.”201 Contrary to CBD Plaintiffs’

statement that BLM simply “cited complexity, the need for government-wide

cooperation, and [BLM’s] inability to enforce the measure,”202 BLM explained that

a reforestation measure was a “narrow and prescriptive approach” that would

“conflict[] with and duplicate[] current initiatives,” because ConocoPhillips was

“already committed to net-zero GHG emissions by 2050 on a portfolio-wide

basis.”203 BLM further explained that it would not be feasible for BLM to enforce

such a measure because enforcement would “require[] the sort of government-

wide cooperation and goal setting that is already occurring by those best



199
      AR824964.
200
   See Docket 115 at 33 (Case No. 3:23-cv-00061-SLG). BLM also noted that it “may
voluntarily conduct additional analysis if it is determined that a change in conditions warrants
reanalysis.” AR824964.
201
      AR824973.
202
      Docket 115 at 33-34 (Case No. 3:23-cv-00061-SLG).
203
      AR824973 (emphasis in original).

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positioned to directly regulate and guide such initiatives, such as the EPA and the

SEC.”204 Thus, BLM provided a well-reasoned explanation for why it did not adopt

this measure; its decision was not arbitrary.

             In addition, CBD Plaintiffs assert that “BLM failed to rationally justify why [a]

five percent drop in downstream emissions” set out by Alternative E as modified

by the ROD “satisfied the agency’s [NPRPA] obligations.”205 As discussed above,

BLM adequately explained its reasons for rejecting further consideration of

alternatives that would be inconsistent with full field development.206 Accordingly,

the Court finds that BLM complied with its obligations pursuant to the NPRPA.

      III.      Alaska National Interest Lands Conservation Act § 810

             SILA Plaintiffs contend that BLM violated § 810 of ANILCA by failing to

consider alternatives that would reduce impacts to subsistence uses.207 “The

purpose of ANILCA § 810 is to protect Alaskan subsistence resources from

unnecessary destruction,” but it “does not prohibit all federal land use actions

which would adversely affect subsistence resources.”208 Rather, it “sets forth a

procedure through which such effects must be considered and provides that


204
      AR824973.
205
      Docket 170 at 29 (Case No. 3:23-cv-00061-SLG).
206
      See discussion supra Section I.a.
207
      Docket 105 at 25-30 (Case No. 3:23-cv-00058-SLG); see 16 U.S.C. § 3120.
208
      Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 544 (1987).

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actions which would significantly restrict subsistence uses can only be undertaken

if they are necessary and if the adverse effects are minimized.”209 “Both NEPA

and ANILCA require [an agency] to consider reasonable alternatives to a proposed

action.”210

            ANILCA § 810 establishes “a two-step process: first, the agency determines

whether the contemplated action may significantly restrict subsistence use” by

evaluating (1) “the effect of such use, occupancy, or disposition [of public lands]

on subsistence uses and needs,” (2) “the availability of other lands for the purposes

sought to be achieved,” and (3) “other alternatives which would reduce or eliminate

the use, occupancy, or disposition of public lands needed for subsistence

purposes” (referred to as the Tier-1 evaluation).211                 Second, if the agency

determines that the proposed action may significantly restrict subsistence use,

then it “must comply with the notice and hearing procedures” laid out in § 810(a)(1)-

(3) (Tier-2 evaluation).212 As part of the Tier-2 evaluation, the agency must give

notice to the appropriate State agency, local committees, and regional councils;

give notice of and hold a hearing in the vicinity of the area involved; and determine

that


209
      Id.
210
      City of Tenakee Springs v. Clough, 915 F.2d 1308, 1310 (9th Cir. 1990).
211
      Kunaknana v. Clark, 742 F.2d 1145, 1150-51 (9th Cir. 1984); 16 U.S.C. § 3120(a).
212
      Kunaknana, 742 F.2d at 1151.

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          (A) such a significant restriction of subsistence uses is necessary,
          consistent with sound management principles for the utilization of the
          public lands, (B) the proposed activity will involve the minimal amount
          of public lands necessary to accomplish the purposes of such use,
          occupancy, or other disposition, and (C) reasonable steps will be
          taken to minimize adverse impacts upon subsistence uses and
          resources resulting from such actions.213

Additionally, if the agency is required to prepare an EIS, the agency must include

its § 810(a) findings in that EIS.214

          Here, SILA Plaintiffs focus on the third requirement in the Tier-1 evaluation—

that the authorizing agency shall evaluate “other alternatives which would reduce

or eliminate the use, occupancy, or disposition of public lands needed for

subsistence purposes.”215 Echoing their NEPA argument, SILA Plaintiffs maintain

that BLM failed to “adequately consider any alternatives which would ‘reduce or

eliminate the use, occupancy, or disposition of public lands needed for subsistence

purposes,’” because “BLM improperly limited the scope of its alternatives by relying

on the erroneous assumption that it could not strand economically viable quantities

of recoverable oil.”216         However, SILA Plaintiffs seek to convert this Tier-1

evaluation factor into a requirement that BLM must consider “other alternatives



213
      16 U.S.C. § 3120(a)(1)-(3).
214
      Id. § 3120(b).
215
      Id. § 3120(a).
216
  Docket 105 at 27-28 (Case No. 3:23-cv-00058-SLG) (quoting 16 U.S.C. § 3120(a)); see also
Docket 155 at 21 (Case No. 3:23-cv-00058-SLG).

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which would reduce or eliminate the use, occupancy, or disposition of public lands

needed for subsistence purposes.”217 But the consideration of alternatives is

simply one factor that BLM must evaluate at Tier-1 to determine whether the

proposed action “may significantly restrict subsistence uses.”218

          BLM appropriately made a Tier-1 evaluation here by evaluating, for each

proposed action alternative, “the effect of such use, occupancy, or disposition [of

public lands] on subsistence uses and needs, the availability of other lands for the

purposes sought to be achieved, and other alternatives which would reduce or

eliminate the use, occupancy, or disposition of public lands needed for subsistence

purposes.”219        Based on that evaluation, BLM concluded that each action

alternative, except the No Action Alternative (Alternative A), “may significantly

restrict subsistence uses.”220 The Tier-1 evaluation requires no more than that.



217
      16 U.S.C. § 3120(a).
218
   Id. In any event, the Court has already held that BLM did not misapprehend its authority, and
that it considered a reasonable range of alternatives pursuant to NEPA based on the Willow
Project’s stated purpose and need. See discussion supra Section I.a.
219
   16 U.S.C. § 3120(a). The table of contents for Appendix G, ANILCA § 810 Analysis, most
clearly lays out how BLM conducted its Tier-1 evaluation. For each proposed action alternative,
BLM considered all three § 810(a) factors before making its finding of whether the action
alternative “may significantly restrict subsistence uses.” See AR824302 (sections B.1 through
B.5); see, e.g., AR824340 (noting in the Alternative E findings section that the action alternative
“may significantly restrict subsistence uses for the community of Nuiqsut”). BLM also made
Tier-1 evaluations for the three module delivery options and the “cumulative case,” which
includes a discussion of Willow impacts and other RFFAs. See AR824302-03 (sections B.6
through B.9). However, SILA Plaintiffs do not appear to challenge any of these latter
determinations.
220
      See AR824309, AR824332, AR824336, AR824338, AR824340.

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“That BLM made affirmative Tier-1 findings for all proposed action alternatives

does not mean BLM violated ANILCA. Rather, it means BLM was required under

all alternatives to hold hearings, take reasonable steps to reduce impacts, and

make certain findings.”221

          This leads to the Tier-2 evaluation. SILA Plaintiffs contend that “[a]s a result

of its limited range of alternatives and misinterpretation of its own statutory

authority, BLM also failed to meet its Tier-2 obligations.”222 SILA Plaintiffs do not

challenge BLM’s compliance with the first two requirements of the Tier-2 evaluation

set out in § 810(a)(1) and (2): giving appropriate notice and holding a hearing

regarding the affirmative Tier-1 findings.223 Rather, SILA Plaintiffs assert that BLM

failed to meet the third requirement of the Tier-2 evaluation, specifically §

810(a)(3)(B) and (C), in not ensuring that “(B) the proposed activity will involve the

minimal amount of public lands necessary to accomplish the purposes of such use,

occupancy, or other disposition, and (C) reasonable steps will be taken to minimize

adverse impacts upon subsistence uses and resources resulting from such




221
      Docket 144 at 19 (Case No. 3:23-cv-00058-SLG) (footnotes and emphasis omitted).
222
  Docket 105 at 29 (Case No. 3:23-cv-00058-SLG); Docket 155 at 21 (Case No. 3:23-cv-
00058-SLG).
223
      See 16 U.S.C. § 3120(a)(1), (2); AR824371 (Section C, Notice and Hearing).

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actions.”224 SILA Plaintiffs contend that BLM’s failure in the Tier-2 evaluation again

stems from “improperly limit[ing] the scope of its analysis.”225

          SILA Plaintiffs’ Tier-2 argument is unpersuasive. The Court has already

rejected Plaintiffs’ argument that BLM improperly limited the scope of its analysis

to full field development pursuant to NEPA and the NPRPA. For the same reason,

the Court rejects SILA Plaintiffs’ argument here, because ANILCA § 810 “must be

read in light of” the NPRPA.226 As such, it was appropriate for BLM to consider

only those action alternatives that would result in full field development,227 and for

BLM to conduct its ANILCA § 810 analysis based on those action alternatives. As

BLM explained in its § 810(a) findings, of the four action alternatives that “met the

purpose and need of the proposed action,” Alternative E as modified in the ROD

“involves the minimal amount of public lands necessary,” because its “total




224
    Docket 155 at 21 & n.56 (Case No. 3:23-cv-00058-SLG); 16 U.S.C. § 3120(a)(3)(B), (C). It
appears that SILA Plaintiffs do not directly challenge the agency’s § 810(a)(3)(A) finding, which
provides that the agency must determine that “such a significant restriction of subsistence uses
is necessary, consistent with sound management principles for the utilization of the public
lands.” 16 U.S.C. § 3120(a)(3)(A).
225
      Docket 155 at 21 (Case No. 3:23-cv-00058-SLG).
226
    Kunaknana, 742 F.2d at 1150-51. Kunaknana held that ANILCA § 810 “must be read in light
of section 6508,” which was recodified at 42 U.S.C. § 6506a, the NPRPA appropriations rider
directing the Secretary to conduct “an expeditious program of competitive leasing of oil and gas”
in the NPR-A. Kunaknana, 742 F.2d at 1150-51; 42 U.S.C. § 6506a(a).
227
      See discussion supra Section I.a.

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footprint of approximately 499 acres . . . is less than any of the other action

alternatives.”228

          Furthermore, Alternative E as modified in the ROD ensures that “reasonable

steps will be taken to minimize adverse impacts upon subsistence uses and

resources” through a variety of measures.229 It disapproved drill sites BT4 and

BT5 “and their associated road and pipeline segments,” which “substantially

reduce[s] impacts to subsistence resources and uses,” including in the TLSA.230

And Alternative E as modified in the ROD includes “subsistence tundra access

ramps and pullouts on gravel roads with locations based on community input”;231

“construction of up to three subsistence boat ramps to provide local residents with

improved river access”;232 and continued consultation with affected subsistence

users and local stakeholders.233 In addition, Mitigation Measure 27 in the ROD



228
      AR824999-825000; 16 U.S.C. § 3120(a)(3)(B).
229
      16 U.S.C. § 3120(a)(3)(C).

  AR825001. “In addition, Alternative E would reduce infrastructure within the TLSA by 43%
230

and move infrastructure (including roads, pipelines, and the nearest drill site) farther from high-
density calving areas and mosquito-relief habitat . . . .” AR824339.
231
      AR824938 (Design Measure 72).
232
      AR824943 (Design Measure 112).
233
   AR824938 (Design Measures 68 and 69). Continued consultation will be with “affected
subsistence communities, tribes, Alaska Native Corporations, and NSB, as well as the
Kuukpikmuit Subsistence Oversight Panel, Alaska Eskimo Whaling Commission, Nuiqsut
Whaling Captains, and Barrow Whaling Captains,” and “the Kuukpik Subsistence Oversight
Panel, the Native Village of Nuiqsut, and Kuukpik Corporation.” AR824938 (Design Measures
68 and 69).

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directs BLM to “develop compensatory mitigation that provides durable, long-term

protection for the Teshekpuk Caribou Herd to fully offset impacts of the project on

that Herd, to include protecting the surface area of Teshekpuk Lake, a buffer along

all shores of the lake, and the K-10 Caribou Movement Corridors/K-16 Deferral

Areas.”234 Kuukpik Corporation, which is the “Alaska Native village corporation for

the community of Nuiqsut, the village closest to the future Willow site,” calls this “a

groundbreaking mitigation measure” for protection of “the caribou herd that is most

important to Nuiqsut subsistence users.”235

         SILA Plaintiffs, beyond repeating their assertion that BLM unlawfully limited

its own authority, do not explain why the measures BLM adopted here are

insufficient to mitigate Willow’s impacts on subsistence uses and resources in light


234
      AR824955.
235
   Docket 144 at 7, 31 (Case No. 3:23-cv-00058-SLG). Kuukpik Corporation supports
Alternative E as modified in the ROD; indeed, “this iteration of the Project is the first alternative
that Kuukpik believes can support the findings that BLM is required to make under ANILCA
810.” Docket 144 at 16-17, 17 n.44 (Case No. 3:23-cv-00058-SLG) (quoting AR704766). The
Arctic Slope Regional Corporation, which is the Alaska Native regional corporation
encompassing the North Slope of Alaska (including Nuiqsut), and the North Slope Borough, an
“area-wide local government representing eight remote Native villages on the North Slope of
Alaska” and whose “jurisdiction includes the entire NPR-A,” including Willow, also support
Alternative E and the subsistence measures adopted to mitigate Willow’s impact. See Docket
142 at 5-8, 14-16 (Case No. 3:23-cv-00058-SLG); Docket 143 at 10, 20-25 (Case No. 3:23-cv-
00058-SLG).

Kuukpik further notes that the gravel roads required to support the Willow Project actually make
subsistence hunting safer because, before the roads, it “was easy to get [4 wheelers] stuck” on
“very wet and marshy” tundra, and hunters “couldn’t go as far to find caribou.” Docket 144 at 29
n.98 (Case No. 3:23-cv-00058-SLG) (quoting Docket 58-2 at ¶ 4 (Decl. Nellie Kaigelak) (Case
No. 3:23-cv-00061-SLG)). In addition, the three boat ramps would provide Nuiqsut residents
access to “good hunting and fishing” areas that are currently challenging or difficult to reach.
Docket 58-2 at ¶ 11 (Decl. Nellie Kaigelak) (Case No. 3:23-cv-00061-SLG).

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of the Project’s stated purpose and need.236 Thus, the Court finds that BLM’s

finding that it took “reasonable steps . . . to minimize adverse impacts upon

subsistence uses and resources” after engaging in meaningful consultations with

affected subsistence users and local stakeholders, and after considering and

adopting a multitude of mitigation measures, was consistent with ANILCA and not

arbitrary or capricious.237 Accordingly, the Court finds that BLM complied with its

obligations for both Tier-1 and Tier-2 evaluations pursuant to ANILCA § 810(a).

       Lastly, SILA Plaintiffs contend that “BLM failed to include its Tier-2 findings

in the [F]inal SEIS, contrary to ANILCA,” and that “[i]nclusion of the findings in the

ROD was not sufficient because it deprived the public of the opportunity to evaluate

the findings prior to a final decision.”238 The Court agrees that, pursuant to §

810(b), it was error for BLM to not include the Tier-2 findings in the Final SEIS and

to instead make those findings in the ROD.239 However, while inclusion in the Final

236
   SILA Plaintiffs rely on City of Tenakee Springs v. Clough for the proposition that “where an
agency improperly confines the scope of its authority under a statute or contract and thereby
limits its consideration of alternatives, it acts contrary to the substantive purpose of Section 810
to minimize impacts to subsistence.” Docket 105 at 28 (Case No. 3:23-cv-00058-SLG) (citing
Tenakee Springs, 915 F.2d at 1312). However, the Court has found that BLM did not
improperly confine the scope of its authority here.
237
    16 U.S.C. § 3120(a)(3)(C). The ROD lists multiple additional mitigation measures, such as
required operating procedures A-11, E-1, E-3, E-7, F-4, H-1, and H-3, and Lease Stipulation K-1
in the 2022 IAP ROD; Project Design Measures 68, 69, 72, and 112 in the ROD; and additional
Mitigation Measures 1, 2, 11, 13, 15, 16, 17, 18, 21, 24, 26, and 27 in the ROD. AR825000.
238
  Docket 105 at 29 (Case No. 3:23-cv-00058-SLG) (first citing AR824371; and then citing 16
U.S.C. § 3120(b)).
239
   ANILCA § 810(b) provides: “If the Secretary is required to prepare an environmental impact
statement pursuant to [NEPA], he shall provide the notice and hearing and include the findings

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SEIS would have given the public “the opportunity to evaluate the findings prior to

a final decision,” as SILA Plaintiffs assert,240 there would still have been no

opportunity for public comment or participation had the findings been included in

the Final SEIS. And the extensive § 810 discussion in the Final SEIS was sufficient

to meaningfully inform the public regarding Willow’s impact on subsistence uses.241

Therefore, BLM’s error here has no “substantive effect” on the outcome, and the

Court finds that the error is harmless.242

      IV.      Motion to Strike

            The Court next addresses SILA Plaintiffs’ Motion to Strike. SILA Plaintiffs

ask the Court to strike the “extra-record evidence” attached to the responses filed

by ConocoPhillips, specifically the Declaration of Anne E. Smith and her curriculum

vitae;243 a 2008 letter from Robert J. Meyers, Principal Deputy Assistant




required by subsection (a) as part of such environmental impact statement.” 16 U.S.C. §
3120(b). However, the Court recognizes the challenge an agency faces to include those
findings in the SEIS before the preferred alternative has been selected in the ROD.
240
      Docket 105 at 29 (Case No. 3:23-cv-00058-SLG).
241
      See AR824300-75 (Final SEIS, Appendix G, ANILCA § 810 Analysis).
242
    See Docket 144 at 20 (Case No. 3:23-cv-00058-SLG); PDK Lab’ys Inc. v. U.S. Drug Enf’t
Agency, 362 F.3d 786, 799 (D.C. Cir. 2004) (“In administrative law, as in federal civil and
criminal litigation, there is a harmless error rule: § 706 of the Administrative Procedure Act, 5
U.S.C. § 706, instructs reviewing courts to take ‘due account . . . of the rule of prejudicial error.’
If the agency’s mistake did not affect the outcome, if it did not prejudice the petitioner, it would
be senseless to vacate and remand for reconsideration.”).
243
      Dockets 141-3, 141-4 (Case No. 3:23-cv-00058-SLG).

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Administrator, Office of Air and Radiation, EPA; 244 and the portions of

ConocoPhillips’ response brief that rely on that evidence.245 SILA Plaintiffs also

move to strike the Declaration of Tyson Kade and the attached exhibits filed by

NSB:246 a 2008 memorandum from Mark D. Myers, Director, U.S. Geological

Survey;247 the Meyers letter identified by ConocoPhillips;248 and a 2008 letter from

James H. Lecky, Director, Office of Protected Resources, NMFS. 249 They also

seek to strike the portions of NSB’s response brief relying on those exhibits.250

          The Court grants in part and denies in part SILA Plaintiffs’ Motion to Strike.

First, ConocoPhillips filed the Smith Declaration and curriculum vitae “for the

purpose of addressing standing,” rather than as a supplement to the administrative

record for the decision on the merits.251 Because these documents were filed “not



244
      Docket 141-1 at 17-25 (Case No. 3:23-cv-00058-SLG).
245
      Docket 150 at 2 (Case No. 3:23-cv-00058-SLG).
246
  Docket 150 at 2 (Case No. 3:23-cv-00058-SLG); Docket 143-1 (Case No. 3:23-cv-00058-
SLG).
247
      Docket 143-1 at 5-6 (Case No. 3:23-cv-00058-SLG).
248
      Docket 143-1 at 8-16 (Case No. 3:23-cv-00058-SLG).
249
      Docket 143-1 at 18-19 (Case No. 3:23-cv-00058-SLG).
250
      Docket 150 at 2 (Case No. 3:23-cv-00058-SLG).
251
    Docket 158 at 12 (Case No. 3:23-cv-00058-SLG). The Smith Declaration discusses whether
a causal link can be reliably established between GHG emissions from the Willow Project and a
loss of Arctic sea ice. See Docket 141-3 at ¶ 8 (Case No. 3:23-cv-00058-SLG). ConocoPhillips
relies on this declaration in its argument that Plaintiffs lack standing to assert their ESA GHG
emissions claims. See Docket 141 at 42-50 (Case No. 3:23-cv-00058-SLG).

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in order to supplement the administrative record on the merits, but rather to

determine whether [Plaintiffs] can satisfy a prerequisite to this court’s jurisdiction,”

the Court declines to strike them.252

       Second, two of the challenged exhibits were referenced and partially relied

upon in the administrative record.           While “judicial review of agency action is

[generally] limited to review of the administrative record,” “certain circumstances

may justify expanding review beyond the record.”253 The Ninth Circuit

       allow[s] expansion of the administrative record in four narrowly
       construed circumstances: (1) supplementation is necessary to
       determine if the agency has considered all factors and explained its
       decision; (2) the agency relied on documents not in the record; (3)
       supplementation is needed to explain technical terms or complex
       subjects; or (4) plaintiffs have shown bad faith on the part of the
       agency.254

The 2008 Meyers letter filed by both ConocoPhillips and NSB and the 2008 Myers

memorandum filed by NSB were cited and partially discussed in a Department of

Interior memorandum contained in the administrative record.255 As such, they fall



252
   Nw. Env’t Def. Ctr. v. Bonneville Power Admin., 117 F.3d 1520, 1528 (9th Cir. 1997) (citation
omitted). However, because the Court does not separately address causation and
redressability with respect to Plaintiffs’ GHG emissions ESA claim, the Court did not consider
the Smith materials. See discussion infra Section V.b.
253
   Animal Def. Council v. Hodel, 840 F.2d 1432, 1436 (9th Cir. 1988), amended, 867 F.2d 1244
(9th Cir. 1989) (citations omitted).
254
  Fence Creek Cattle Co. v. U.S. Forest Serv., 602 F.3d 1125, 1131 (9th Cir. 2010) (citing
Lands Council, 395 F.3d at 1030).
255
  FWS_AR032371; FWS_AR032375-77 & nn.6 & 8. See Thompson v. U.S. Dep’t of Labor,
885 F.2d 551, 555 (9th Cir. 1989) (“The whole administrative record, therefore, consists of all

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within the second exception of “documents not in the record” on which “the agency

relied.”256 Accordingly, the motion to strike these documents is denied.

            However, the final challenged exhibit—the 2008 Lecky letter—does not fall

within an exception. NSB relies on the letter to demonstrate that BLM and the

Services reasonably concluded that Willow’s GHG emissions were outside the

scope of the Section 7 consultation and that the agencies considered the best

available science in making those determinations.257 The Court does not find that

the 2008 Lecky letter is “necessary to determine if the agency has considered all

factors and explained its decision” or that it is “needed to explain technical terms

or complex subjects.”258 There is no evidence that BLM relied on this letter in

carrying out its obligations pursuant to the ESA, and Plaintiffs do not assert “bad

faith on the part of the agency” here.259 Accordingly, the Court grants the motion

to strike as to the 2008 Lecky letter260 and the sentence in NSB’s response in

opposition that relies on it, where NSB asserts: “Following a review of EPA’s

analysis, NMFS ‘agree[d] that current models do not allow us to trace a link


documents and materials directly or indirectly considered by agency decision-makers . . . .”
(emphasis and citation omitted)).
256
      Fence Creek Cattle, 602 F.3d at 1131 (citation omitted).
257
      Docket 157 at 6-8 (Case No. 3:23-cv-00058-SLG).
258
      See Fence Creek Cattle, 602 F.3d at 1131 (citation omitted).
259
      Id.
260
      Docket 143-1 at 18-19 (Case No. 3:23-cv-00058-SLG).

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between individual actions that contribute to atmospheric carbon levels and

localized climate impacts relevant to a consultation.’”261

      V.      Endangered Species Act

           Plaintiffs assert that (1) FWS erred in finding in its BiOp that there would be

no incidental take of polar bears, and BLM unlawfully relied on FWS’s BiOp,262 and

(2) BLM failed to consult with FWS and NMFS regarding Willow’s carbon

emissions as an effect of the Willow Project.263

              a. Applicable Law

           “The ESA ‘is a comprehensive scheme with the broad purpose of protecting

endangered and threatened species.’”264 Section 9 of the ESA prohibits the “take”

of any endangered species.265               A “take” under the ESA occurs when an

endangered animal is harassed, harmed, pursued, hunted, shot, wounded, killed,




261
      Docket 143 at 33 & n.8 (Case No. 3:23-cv-00058-SLG).
262
   Docket 105 at 39-44 (Case No. 3:23-cv-00058-SLG); Docket 115 at 41-47 (Case No. 3:23-
cv-00061-SLG).
263
    SILA Plaintiffs challenge FWS’s failure to consider Willow’s GHG emissions as an effect of
the project in the BiOp, Docket 105 at 34 (Case No. 3:23-cv-00058-SLG), whereas CBD
Plaintiffs assert that BLM erroneously concluded that Willow’s GHG emissions are not an effect
of the action and that FWS and NMFS improperly concurred with that conclusion, Docket 115 at
35-39 (Case No. 3:23-cv-00061-SLG).
264
   Ctr. for Biological Diversity v. U.S. Fish & Wildlife Serv., 807 F.3d 1031, 1036 (9th Cir. 2015)
(quoting Ctr. for Biological Diversity v. Bureau of Land Mgmt., 698 F.3d 1101, 1106 (9th Cir.
2012)).
265
      16 U.S.C. § 1538(a)(1)(B).

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trapped, captured, or collected, or when anyone attempts to engage in such

conduct.266

            Section 7 of the ESA “imposes an affirmative duty to prevent violations of

Section 9 upon federal agencies.”267

            Section 7(a)(2) of the ESA requires every federal agency to “insure
            that any action authorized, funded, or carried out by such agency . . .
            is not likely to jeopardize the continued existence of any endangered
            species or threatened species or result in the destruction or adverse
            modification of [critical] habitat of such species.”268

In accordance with this affirmative duty, federal agencies must prepare a

“biological assessment . . . evaluat[ing] the potential effects of the action on listed

and proposed species and designated and proposed critical habitat.”269                            The

biological assessment (“BA”) is “used in determining whether formal consultation”

is required.270 Formal consultation with FWS or NMFS is required when the action

agency determines that listed species or critical habitat is likely to be adversely




266
    16 U.S.C. §1532(19); 50 C.F.R. § 17.3 (defining “harass” as action that “creates the
likelihood of injury to wildlife by annoying it to such an extent as to significantly disrupt normal
behavioral patterns which include, but are not limited to, breeding, feeding, or sheltering”).
267
    Ariz. Cattle Growers’ Ass’n v. U.S. Fish & Wildlife Serv., 273 F.3d 1229, 1238 (9th Cir. 2001)
(citing 16 U.S.C. § 1536(a)(2)).
268
  Ctr. for Biological Diversity, 807 F.3d at 1036 (alterations in original) (quoting 16 U.S.C. §
1536(a)(2)).
269
      50 C.F.R. § 402.12(a).
270
      Id.

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affected by the action.271 The applicable service then produces a BiOp containing

a “detailed discussion of the effects of the action on listed species or critical

habitat.”272

           Effects of the action are all consequences to listed species or critical
           habitat that are caused by the proposed action, including the
           consequences of other activities that are caused by the proposed
           action. A consequence is caused by the proposed action if it would
           not occur but for the proposed action and it is reasonably certain to
           occur. Effects of the action may occur later in time and may include
           consequences occurring outside the immediate area involved in the
           action.273

           The BiOp must also opine as to whether the action will jeopardize an

endangered species or destroy or adversely modify the species’ designated critical

habitat.274 If the service determines that the proposed action will neither jeopardize

the species (“no jeopardy determination”) nor adversely modify its habitat (“no

adverse modification determination”), it then authorizes the taking of a listed

species incidental to the proposed project by issuing an incidental take statement

(“ITS”) with the BiOp.275




271
      Id. § 402.12(k)(1).
272
      Id. § 402.14(h)(iii).
273
      Id. § 402.02.
274
      See 16 U.S.C. § 1536(b)(3)(A); 50 C.F.R. § 402.14(h)(1)(iv).
275
   See 16 U.S.C § 1536(b)(4); 50 C.F.R. § 402.14(i); Ctr. for Biological Diversity v. Salazar, 695
F.3d 893, 909 (9th Cir. 2012).

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          “The incidental take statement estimates the amount of the project’s

incidental take of the listed species, includes any ‘reasonable and prudent

measures’ considered ‘necessary or appropriate to minimize such impact,’ and—

in the case of marine mammals such as the polar bear—describes specific

measures necessary to comply with the” Marine Mammal Protection Act

(“MMPA”).276 “The purpose of the incidental take statement is, at least in part, to

specify the amount of take that may occur, and include triggers that indicate non-

compliance with the statement and require re-consultation [under Section 7 of the

ESA] with FWS.”277 “A taking that complies with the terms and conditions of a

Section 7 incidental take statement is not prohibited by Section 9.”278

              b. Standing

          As a threshold issue, Intervenor-Defendants dispute Plaintiffs’ standing to

bring their ESA claims.279 Under Article III of the Constitution, “[t]he jurisdiction of

the federal courts is limited to ‘cases’ and ‘controversies.’” 280                Federal courts



276
  Liberty, 982 F.3d at 742 (citing 50 C.F.R. § 402.14(i)(1)); see 16 U.S.C. § 1361 et seq.
(MMPA).
277
  Liberty, 982 F.3d at 748 (first citing 16 U.S.C. § 1536(b)(4); and then citing 50 C.F.R. §
402.14(i)(1)(i)).
278
   Id. at 742 (first citing Salazar, 695 F.3d at 909; 16 U.S.C. § 1536(o)(2); then citing 16 U.S.C.
§ 1536(o)(2); and then citing 50 C.F.R. § 402.14(i)(5)).
279
  Docket 141 at 42-50 (Case No. 3:23-cv-00058-SLG); Docket 145 at 9-22 (Case No. 3:23-cv-
00058-SLG).
280
      Bellon, 732 F.3d at 1138 (quoting U.S. Const. art. III, § 2).

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enforce this jurisdictional limitation through the doctrine of “Article III standing.” 281

Plaintiffs bear the burden of establishing their standing to bring suit.282

          SILA Plaintiffs and CBD Plaintiffs filed their lawsuits on behalf of their

members.283          An organization can assert the interests of its members.284

Accordingly, Plaintiffs must demonstrate that at least one of their members has

standing to sue.

          [T]o satisfy Article III’s standing requirements, a plaintiff must show
          (1) it has suffered an “injury in fact” that is (a) concrete and
          particularized and (b) actual or imminent, not conjectural or
          hypothetical; (2) the injury is fairly traceable to the challenged action
          of the defendant; and (3) it is likely, as opposed to merely speculative,
          that the injury will be redressed by a favorable decision.285

          In environmental cases, “[t]he relevant showing for purposes of Article III

standing . . . is not injury to the environment but injury to the plaintiff.” 286 “While



281
      See DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 340-42 (2006).
282
      See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).
283
    Docket 1 at ¶¶ 17-19 (Case No. 3:23-cv-00058-SLG); Docket 1 at ¶ 17 (Case No. 3:23-cv-
00061-SLG). ConocoPhillips argues that “SILA[] does not appear to have standing in its own
right because it is not a separate legal entity but instead a ‘program’ of plaintiff Northern Alaska
Environmental Center.” Docket 141 at 42 n.142 (Case No. 3:23-cv-00058-SLG). However,
SILA has alleged that it “is an Alaska-based grassroots organization made up of Iñupiat Peoples
and community members.” Docket 88 at ¶¶ 12, 18-20 (Case No. 3:23-cv-00058-SLG).
ConocoPhillips has presented no contrary evidence regarding SILA’s standing to bring claims
on behalf of its members other than website links.
284
      Summers v. Earth Island Inst., 555 U.S. 488, 494 (2009).
285
    Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000)
(citing Lujan, 504 U.S. at 560-61).
286
      Id. at 181.

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generalized harm to the forest or the environment will not alone support standing,

if that harm in fact affects the recreational or even the mere esthetic interests of

the plaintiff, that will suffice.”287 The other two requirements, “the ‘fairly traceable’

and ‘redressability’ components for standing overlap and are ‘two facets of a single

causation requirement.’”288 “The two are distinct insofar as causality examines the

connection between the alleged misconduct and injury, whereas redressability

analyzes the connection between the alleged injury and requested judicial

relief.”289

                     i. Injury-in-Fact

            The State challenges Plaintiffs’ standing to contest FWS’s BiOp regarding

the incidental harassment of polar bears.290 Specifically, the State asserts that

Plaintiffs fail to show an injury-in-fact because “Plaintiffs’ hopes to see a polar bear

in the Petroleum Reserve (at times and locations where the presence of polar

bears would be an anomaly) are conjectural[,] Plaintiffs’ members have never


287
    Summers, 555 U.S. at 494. See also Ecological Rts. Found. v. Pac. Lumber Co., 230 F.3d
1141, 1149 (9th Cir. 2000) (“[A]n individual can establish ‘injury in fact’ by showing a connection
to the area of concern sufficient to make credible the contention that the person’s future life will
be less enjoyable—that he or she really has or will suffer in his or her degree of aesthetic or
recreational satisfaction—if the area in question remains or becomes environmentally
degraded.”).
288
   Bellon, 732 F.3d at 1146 (quoting Allen v. Wright, 468 U.S. 737, 753 n.19 (1984), abrogated
on other grounds by Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118
(2014)).
289
      Id.
290
      Docket 145 at 9-22 (Case No. 3:23-cv-00058-SLG).

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reported seeing a polar bear anywhere near the Willow Project, and [they] provided

no evidence that seeing one in the future is even remotely likely or planned.”291

                           1. Plaintiffs’ Declarations

          SILA Plaintiffs point to the declarations of Robert Thompson and Daniel

Ritzman to establish injury-in-fact.292         SILA Plaintiffs argue that the Southern

Beaufort Sea (“SBS”) polar bear population will be harmed by the Willow Project

and that Thompson and Ritzman have enjoyed viewing that same population in

the past and they plan to enjoy doing so in the future.293 And SILA Plaintiffs

contend that they “do[] not need to show that members view polar bears at the

Willow site; impacts to these polar bears will harm members’ ability to continue

enjoying them across their range,” as polar bears are a migratory species.294

          Mr. Ritzman has visited the Reserve several times, beginning in 1996 when

he floated the Colville River to Nuiqsut. He has traveled to the TLSA and has

floated other rivers where he saw wolverines, caribou, muskox, grizzly bears,

wolves, and birds. He has also seen the site of the Willow Project and oil and gas




291
      Docket 145 at 22 (Case No. 3:23-cv-00058-SLG).
292
  Docket 155 at 29-30 (Case No. 3:23-cv-00058-SLG) (citing Dockets 105-7 (Thompson Decl.)
and 105-3 (Ritzman Decl.) (Case No. 3:23-cv-00058-SLG)).
293
      Docket 155 at 30 (Case No. 3:23-cv-00058-SLG).
294
   Docket 155 at 30 (Case No. 3:23-cv-00058-SLG) (citing FWS_AR032465 (figure showing
global distribution of polar bear subpopulations, with the Southern Beaufort Sea population
distributed across northern Alaska and east into northern Canada)).

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development near the Colville River from an airplane. Mr. Ritzman had plans to

return to the area in August 2023 and again in 2025 to float the Colville River to

Nuiqsut, and to return to Utqiaġvik in 2024.               On those trips, he “hope[s] to

experience raptors, wolves, bears, wolverines, and caribou along with other

wildlife.”295

          Mr. Thompson lives in Kaktovik and “own[s] and operate[s] [his] own

business, Kaktovik Arctic Adventures.” He “was licensed and permitted to guide,

and [he was] planning on applying for a permit to guide again. The majority of [his]

business has been to guide polar bear viewing trips in the Arctic Refuge.” He

states that “[i]t used to be unusual to see [polar] bears onshore” but that “more

[polar bears] are denning onshore due to sea ice loss.”296

          CBD Plaintiffs also rely on a declaration by Mr. Ritzman; they also point to

the declarations of Rosemary Ahtuangaruak and Jeffrey Fair, and a corrected

declaration by Richard Steiner, among others.297                Ms. Ahtuangaruak lives in

Nuiqsut, and her declaration describes living in Nuiqsut, subsistence activities,

traditional sharing practices, and the changes to her traditional way of life brought

by increased oil and gas development to hunting, fishing, and whaling. She states



295
      Docket 105-3 at ¶¶ 25-31, 33 (Case No. 3:23-cv-00058-SLG).
296
      Docket 105-7 at ¶¶ 2-3, 11-12 (Case No. 3:23-cv-00058-SLG).
297
  Docket 170 at 38 n.17, 48-49 (Case No. 3:23-cv-00061-SLG) (citing Dockets 115-1, 115-2,
115-3, and 170-1 (Case No. 3:23-cv-00061-SLG)).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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that her “extended family hunts polar bears, which range across the North Slope,

from Canada to past Barrow in the West.”298

          Mr. Fair lives near Palmer, Alaska, and has conducted extensive research

on loons in northern Alaska. He has also “seen polar bears in the Arctic National

Wildlife Refuge and in Kaktovik and hope[s] to see one in the Reserve.” He “plan[s]

to return to the Reserve for research purposes sometime in the next couple years,”

and he “plan[s] to take personal trips into the Reserve at the earliest opportunity

and hopefully by 2025.”299

          Mr. Steiner lives in Anchorage, Alaska. In the 1970s, he “organized and

joined an Arctic expedition across more than two thousand miles of Arctic

terrestrial and river habitat, from the Northwest Territories of Canada across to

Alaska and down the Yukon River to the Bering Sea.” He has “floated (solo) down

the Utukok River through the NPR[-]A to Kasegaluk Lagoon and Point Lay, and

spent time on the south side of [the] NPR[-]A.” On his visits to the Reserve, Mr.

Steiner saw polar bears. In 2008 and 2009, he “organized” and “took” flights along

the northern coast of Alaska “to examine the condition of sea ice when it [was] at

its minimum level, and to observe the behavior and distribution of polar bears.” Mr.

Steiner “plan[s] to visit the coastal plain and offshore areas in the Chukchi and



298
      Docket 115-1 at ¶¶ 7-50, 90 (Case No. 3:23-cv-00061-SLG).
299
      Docket 115-3 at ¶¶ 1-17 (Case No. 3:23-cv-00061-SLG).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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Beaufort Seas again later this year to observe marine and coastal wildlife, including

. . . polar bears.”300

                             2. Analysis

          The Court concludes that Plaintiffs have sufficiently shown injury-in-fact for

their ESA claims. “[T]he desire to use or observe an animal species, even for

purely esthetic purposes, is undeniably a cognizable interest for purpose of

standing.”301 “The interest that individuals have in observing a species or its

habitat, ‘whether those individuals are motivated by esthetic enjoyment, an interest

in professional research, or an economic interest in preservation of the species’ is

sufficient to confer standing.”302

          In Center for Biological Diversity v. Kempthorne, the Ninth Circuit held that

the environmental plaintiffs had standing to maintain their MMPA and NEPA claims

challenging incidental take regulations authorizing oil and gas activities in and

along the Beaufort Sea, because their “members allege[d] that they ha[d] viewed

polar bears and walrus in the Beaufort Sea region, enjoy[ed] doing so, and ha[d]

plans to return.”303 Accordingly, “[i]f the plaintiffs’ allegations are true,” FWS’s


300
      Docket 170-1 at ¶¶ 2, 9, 15-17 (Case No. 3:23-cv-00061-SLG).
301
      Lujan, 504 U.S. at 562-63 (citation omitted).
302
  Ctr. for Biological Diversity v. Kempthorne, 588 F.3d 701, 707 (9th Cir. 2009) (quoting Lujan,
504 U.S. at 582).
303
   Id. at 707-08. Note that this is a different case than the one by the same name discussed in
the alternatives analysis section of this order supra Section I.a.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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“incidental take regulations threaten imminent, concrete harm to these interests by

destroying polar bears and walrus in the Beaufort Sea.”304

          The same is true for Plaintiffs here. Several of Plaintiffs’ members have

“allege[d] that they ha[d] viewed polar bears . . . in the Beaufort Sea region,

enjoy[ed] doing so, and ha[d] plans to return.”305 They have demonstrated the

requisite injury-in-fact to their interest in viewing polar bears in the region

encompassing the Willow Project.306

                    ii. Causation and Redressability




304
      Id. at 708.
305
   Id. at 707-08. See description of Action Area and polar bears’ migratory nature infra
Sections V.c.i.1-3. See also Melone v. Coit, Case No. 1:21-cv-11171-IT, 2023 WL 5002764, at
*4 (D. Mass. Aug. 4, 2023) (“Whether Melone observes right whales off the coast of . . .
Massachusetts, or . . . Florida, is irrelevant where it is the same population . . . that migrate[s]
from one location to the other, and it is the same population” that will be impacted.).

The State relies on Kunaknana v. U.S. Army Corps of Eng’rs, 23 F. Supp. 3d 1063 (D. Alaska
2014), in support of its assertion that Plaintiffs’ declarations are insufficient because they do not
assert that they have seen polar bears near the site of the Willow Project or that they hope to
return to the area of the Willow Project to see polar bears. Docket 145 at 16-19 (Case No. 3:23-
cv-00058-SLG). However, Kunaknana is distinguishable. In Kunaknana, the plaintiffs, pursuant
to the Clean Water Act and NEPA, challenged a permit given to ConocoPhillips to fill particular
wetlands to develop a drill site. 23 F. Supp. 3d at 1067-68. The Court determined that plaintiffs
lacked standing because none of the declarations showed that a member had visited the site
and intended to return to the site. Id. at 1082-83. Here, Plaintiffs’ members have visited and
have demonstrated an intent to return to the region in the near future, including in the NPR-A.
And considering the migratory nature of polar bears, the geographic scope of the potential injury
is greater than just the Willow Project site. See FWS_AR032490 (map showing overlap
between action area and denning critical habitat, and nearby historical den sites); Melone, 2023
WL 5002764, at *4.

  Although the State challenges injury-in-fact only as to a subset of Plaintiffs’ ESA claims, the
306

Court finds that Plaintiffs’ declarations adequately allege injury-in-fact as to all of Plaintiffs’
challenges pursuant to the ESA.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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          Plaintiffs challenge the adequacy of the Section 7 consultations under the

ESA and FWS’s BiOp. They seek vacatur of the “ESA consultation documents,”

including the BiOp.307 Vacatur of the BiOp could lead to changes to the Willow

Project that would better protect Plaintiffs’ interests in viewing polar bears.

Plaintiffs, therefore, have established causation and redressability to maintain their

ESA claims.308

          ConocoPhillips argues that Plaintiffs must separately establish standing for

their ESA claim regarding the Services’ consultation on Willow’s GHG

emissions.309 ConocoPhillips maintains that Plaintiffs cannot establish causation

and redressability with respect to that particular claim because “[w]hether Plaintiffs

suffer global climate change impacts in the future that affect their interests in Arctic

species is a function of many factors, including total global GHG emissions (past,

present, and future) and global policy choices.”310

          However, the Court has concluded that Plaintiffs have standing to seek

vacatur of the BiOp and the ESA consultation documents. As such, Plaintiffs may



307
  Docket 115 at 50 (Case No. 3:23-cv-00061-SLG); Docket 105 at 47 (Case No. 3:23-cv-
00058-SLG) (seeking vacatur of “the ROD, final SEIS, BiOp, and all decisions that rely on these
documents”).
308
   See Kempthorne, 588 F.3d at 708 (“[The] injury is geographically specific, is caused by the
regulations at issue, and is imminent. The plaintiffs do not challenge the ‘regulation in the
abstract.’ The plaintiffs have standing.”).
309
      See Docket 141 at 42-50 (Case No. 3:23-cv-00058-SLG).
310
      Docket 141 at 49-50 (Case No. 3:23-cv-00058-SLG).

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raise a full range of challenges to BLM’s and the Services’ compliance with the

ESA.311 “[O]nce a litigant has standing to request invalidation of a particular

agency action, it may do so by identifying all grounds on which the agency may

have failed to comply with its statutory mandate.”312                  Additionally, in Natural

Resources Defense Council v. Jewell, the Ninth Circuit held that “to establish

standing, a litigant who asserts a procedural violation under Section 7(a)(2) need

only demonstrate that compliance with Section 7(a)(2) could protect his concrete

interests.”313 Plaintiffs have shown as much here. Accordingly, the Court finds

that Plaintiffs have standing to raise all ESA claims associated with the Willow

Project.314

              c. FWS’s Incidental Take Finding for Polar Bears

                     i. The BiOp



311
      See DaimlerChrysler Corp., 547 U.S. at 353 n.5.
312
      DaimlerChrysler Corp., 547 U.S. at 353 n.5 (internal quotation marks omitted).
313
    Nat. Res. Def. Council v. Jewell, 749 F.3d 776, 783 (9th Cir. 2014) (emphasis in original)
(citing Defs. of Wildlife v. EPA, 420 F.3d 946, 957 (9th Cir. 2005), rev’d and remanded on other
grounds sub nom. Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551 U.S. 644 (2007)). See
All. for the Wild Rockies v. U.S. Dep’t of Agric., 772 F.3d 592, 599 (9th Cir. 2014) (holding that
plaintiffs had standing to bring ESA claim asserting that federal defendants failed to comply with
Section 7 of the ESA as there was “a direct causal connection between these claims of
procedural injury and the federal defendants’ actions concerning [a federal management plan]”).
314
   The Court has reviewed the supplemental authority recently filed by ConocoPhillips: Ctr. for
Biological Diversity v. U.S. Dep’t of the Interior, Case No. 1:22-cv-01716-TSC (D.D.C. Nov. 1,
2023). Docket 164 at 2 (Case No. 3:23-cv-00058-SLG); Docket 164-1 (Case No. 3:23-cv-
00058-SLG) (slip opinion). The Court also considered Plaintiffs’ responses. Docket 165 (Case
No. 3:23-cv-00058-SLG); Docket 182 (Case No. 3:23-cv-00061-SLG). The out-of-circuit case
did not alter the Court’s decision here.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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                          1. Action Area

         FWS’s BiOp for the Willow Project described “[t]he terrestrial Action Area

[as] the area within 1 mile (1.6 km) of Project activities . . . because it encompasses

the area of physical disturbance coupled with a one mile buffer within which

disturbance to polar bear dens could occur from noise, vibration, physical

presence, and human activity associated with the Project.”315

         The offshore Action Area is the area within 1.5 miles (2.4 km) of
         offshore Project components: the marine transit route (MTR) for barge
         transit from Dutch Harbor in the southern Bering Sea to the offshore
         barge lightering area, the screeding area for barge lightering, the
         barge and support vessel route from the lightering area to Oliktok
         Dock, and the area encompassing construction, screeding, and
         offloading activities at Oliktok Dock . . . .316

“Apart from activities at and around Oliktok Dock, activities associated with the

Proposed Action would occur primarily between approximately 7.8 to 26.0 miles

(12.6 to 42.0 km) inland from the Beaufort Sea coast.”317

         NMFS identified the Action Area in its Letter of Concurrence as identical to

the offshore Action Area in the BiOp: “the area within 2.4 km (1.5 mi) on both sides

of the barge delivery route (total width of 4.8 km (3 mi) . . . ) and 2.4 km (1.5 mi)




315
      FWS_AR032437. See FWS_AR032438 (map of action area).
316
      FWS_AR032437. See FWS_AR032439 (map of MTR).
317
   FWS_AR032509. Oliktok Dock “existed at the time critical habitat was designated and [is]
therefore not part of critical habitat.” FWS_AR032531.

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along the lightering route for support vessels and barges to and from Oliktok

Dock.”318

                          2. Denning Polar Bears

         Southern Beaufort Sea polar bears have increasingly used land for denning

due to the decline in sea ice.319 “The majority of the Action Area is farther inland

than where most polar bear dens occur, with the exception of the coastal area near

Oliktok Dock . . . . [I]n northern Alaska, west of the Kavik River, 95% of all historical

confirmed and probable dens occurred within 4.5 km (2.8 mi) of the Beaufort Sea

coast.”320 However, “[t]he majority of the proposed Project infrastructure would be

greater than 10 km from the coast. For example, BT2, the closest permanent

Project infrastructure to the coast[,] would be roughly 21 km inland. The

Tiŋmiaqsiuġvik mine site would also be roughly 15 km from the coast . . . .”321

         Nevertheless, “small numbers of dens have been documented within or just

beyond the discrete boundary of the Action Area within the last 100 years; almost

all were concentrated in coastal areas, near Oliktok Dock, and nearby barrier




318
      NMFS_AR000146. See NMFS_AR000147 (map of action area).
319
      FWS_AR032470; FWS_AR032484.
320
      FWS_AR032518.
321
      FWS_AR032518.

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islands.”322 “This history suggests that it is possible that one or more polar bears

could attempt to den within the Action Area over the 30-year life of the project.”323

         In the Effects section of the BiOp, FWS explained that it had used a model

to “derive[] an estimate of the number of dens that may be disturbed and hence

the number of cubs that could experience potential injury or mortality because of

this disturbance.”324 The model estimated that, during the life of the project, an

estimated median of zero cubs could experience MMPA harassment with the

potential to cause injury or mortality annually as a result of the disturbance by

Willow activity.325 And “there is a 70% probability of [zero] potential injuries or

mortalities to denning polar bears over the 30-year life of the Project.”326



322
      FWS_AR032518.
323
      FWS_AR032518.
324
      FWS_AR032518. See FWS_AR032575-82 (Appendix B detailing model methodology).
325
   FWS_AR032519. The model determined the amount of MMPA Level A or Level B
harassment—a lower bar compared to harassment under the ESA. As FWS explained,

         there are several important differences in how various forms of “take” are defined
         under the MMPA and ESA, and that in many instances MMPA take does not
         equate to any form of ESA take. This is largely due to different standards
         concerning both the probability and the extent of impacts. Whereas acts causing
         a “potential to disturb” or “potential to injure” a marine mammal could qualify as
         MMPA “Level B harassment” or MMPA “Level A harassment[,”] respectively, no
         ESA take can occur unless the act creates a “likelihood of injury” (an element of
         “harass” under the ESA) or “actually kills or injures” a marine mammal (an element
         of “harm” under the ESA).

FWS_AR032540 (first citing 16 U.S.C. § 1362(18); and then citing 50 C.F.R. § 17.3).

  FWS_AR032519. FWS found, based on the model, “that impacts to denning or post-
326

emergence polar bear cubs are not anticipated or reasonably certain to occur over the 30-year

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                          3. Non-Denning Polar Bears

         FWS noted that “[w]hile on shore, the distribution of polar bears is largely

influenced by the opportunity to feed on the remains of subsistence-harvested

bowhead whales. Most polar bears are aggregated at three sites along the coast,

Utqiaġvik, Cross Island, and Kaktovik.”327 “[R]ecords of [i]ndustry encounters

during activities on the North Slope between 2014 – 2018[] indicate the number of

polar [bear] encounters significantly decreases with distance from the coast . . . .

Few encounters occur [greater than] 1.2 miles from the coast . . . and more

encounters occur during the open-water season than the ice season.”328

         FWS noted that Willow will generate noise and other disturbance and that

“[p]ossible impacts on transient polar bears exposed to project related disturbance

potentially include disruption of normal activities, displacement from foraging and

resting areas, and interruption of movement patterns.”329                     However, FWS

concluded in its Effects section of the BiOp that,

         although small numbers of non-denning polar bears could be
         disturbed by activities associated with the proposed Project, project-
         specific disturbance would not result in injury to these bears because
         1) polar bears occur at low density in the Action Area, 2) transient
         bears can move away from disturbance if necessary, such that

life of the Project (i.e., cumulative probability of 0 MMPA Level A + lethal takes = 70%; Appendix
B, Table B.2).” FWS_AR032529.
327
      FWS_AR032486. See FWS_AR032508.
328
      FWS_AR032510.
329
      FWS_AR032513.

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         disturbance would be limited to short-term changes in behavior that
         would not be biologically significant, 3) following the construction
         phase, most activities would take place well inland from the coast
         where polar bears are less likely to occur, and 4) existing coastal
         infrastructure most likely to be encountered by polar bears is subject
         to on-going existing levels of human activities and disturbance, and 5)
         [ConocoPhillips’] adherence to minimization measures, such as
         [required operating procedures] A-8, M-1 and Design features 46, 60,
         66, and 81 would minimize impacts of disturbance to non-denning
         bears.330

                          4. Mitigation Measures

         The BiOp included several “Lease Stipulations (LSs) and required operating

procedures (ROPs)” aimed at mitigating impacts to listed species and critical

habitat.331 For example, ROP M-1 provides, “Chasing wildlife with ground vehicles

is prohibited. Particular attention will be given to avoid disturbing caribou.”332 FWS

also identified measures included by ConocoPhillips in the Willow Project proposal

that would minimize the Project’s impacts to listed species and critical habitat.333

                          5. No Jeopardy Determination

         Ultimately, FWS concluded that “the Action, as proposed, is not likely to

jeopardize the continued existence of polar bears by reducing appreciably the




330
      FWS_AR032516-17.
331
      FWS_AR032409-21.
332
      FWS_AR032420.
333
      FWS_AR032421-26.

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likelihood of survival and recovery in the wild by reducing reproduction, numbers,

or distribution of this species.”334

                            6. Incidental Take Finding

          FWS included an Incidental Take Statement (“ITS”) for polar bears in the

BiOp.335 In the ITS, FWS stated that it did “not anticipate the proposed action would

result in any incidental take of polar bears.”336 Nevertheless, FWS included an

explanation to “contextualize” its no-take finding and to address the relationship

between the BiOp and take authorizations issued under the MMPA.337 MMPA

Level B harassment constitutes acts causing a “potential to disturb” and Level A

harassment includes acts causing a “potential to injure.”338 In contrast, “no ESA

take can occur unless the act creates a ‘likelihood of injury’ (an element of ‘harass’

under the ESA) or ‘actually kills or injures’ a marine mammal (an element of ‘harm’

under the ESA).”339 Accordingly, MMPA Level B harassment is generally not ESA




334
   FWS_AR032538. FWS also concluded that Willow was “not likely to result in the destruction
or adverse modification of any unit of designated critical habitat for the polar bear.”
FWS_AR032539.
335
      FWS_AR032539-46.
336
      FWS_AR032540.
337
      FWS_AR032540.
338
      FWS_AR032540. See 16 U.S.C. § 1362(18)(A)(i)-(ii), (C), (D).
339
      FWS_AR032540 (first citing 16 U.S.C. § 1362(18); and then citing 50 C.F.R. § 17.3).

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take, and “not all instances of MMPA Level A harassment rise to the level of ESA

harm.”340

          As to non-denning polar bears, the ITS stated that FWS

          [did] not anticipate any incidental disturbances resulting from the
          proposed action would “harass” any polar bears per the applicable
          definition of that term. Two concepts separately and independently
          support this finding. First, for the reasons explained in the Effects
          section, none of the incidental disturbances to non-denning (i.e.,
          transient) polar bears anticipated to result from this proposed action
          would create a “likelihood of injury” to any polar bears, and thus none
          of these incidental disturbances would “harass” any polar bears per
          the ESA. Second, incidental disturbances resulting from this
          proposed action would not occur intentionally or negligently.341

          In support of its second conclusion in the ITS—that any incidental

disturbances would not occur intentionally or negligently to non-denning polar

bears and therefore did not constitute harassment under the ESA—FWS defined

“harass” as requiring an intent to harass.342 Because Willow “would be conducted

with the intent of developing and producing oil and gas and without any intent to

annoy, disturb, or harass polar bears,” and because the project incorporated



340
      FWS_AR032540 (internal quotation marks omitted).
341
      FWS_AR032541 (citing 50 C.F.R. § 17.3).
342
    FWS_AR032541. FWS cited to a 1981 FWS proposed rulemaking that would redefine
“harm,” which cited to 50 C.F.R. § 17.3, and stated that, under this definition, “two elements
must be shown before a finding of harassment can be made: (1) likelihood of injury to wildlife,
and (2) some degree of fault, either intentional or negligent. Because the definition contains an
element of fault, it will not result in criminal liability for habitat modifications unless it is shown
that the defendant knew or reasonably should have known that his actions would be likely to
injure wildlife.” FWS_AR032541 (quoting Endangered and Threatened Wildlife and Plants;
Proposed Redefinition of “Harm,” 46 Fed. Reg. 29490, 29490-92 (June 2, 1981)).

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“numerous additional minimization measures . . . to further protect polar bears,”

FWS concluded that Willow “would be conducted in accordance with ‘reasonable

measures to avoid injury to’ . . . polar bears and that any incidental (i.e., not

intentional) disturbance of polar bears that nevertheless results from the proposed

action would not entail any ‘degree of fault, either intentional or negligent’, and thus

would not constitute ‘harassment’” under the ESA.343

         Regarding denning polar bears, the ITS again referenced the model FWS

had relied on, which predicted that “the anticipated number of all MMPA Level A

Harassments (even when combined with the anticipated number of lethal takes) is

zero,” to conclude “that no incidental ESA take of denning bears is anticipated to

result from [Willow].”344

                  ii. Plaintiffs’ Claims

                           1. Non-Denning Polar Bears

                                  a. The BiOp’s Definition of “Harassment”

         Plaintiffs argue that FWS improperly defined “harassment” “to require

specific intent directed toward the listed animal, rather than general intent to


343
    FWS_AR032541. In the BiOp, FWS “acknowledge[d] that it has not consistently given effect
to the ‘intentional or negligent’ language of its ESA definition of ‘harass’ when developing
biological opinions for polar bears. It [did] so here to give proper effect to all elements of the
definition of ‘harass,’ reflect the comprehensiveness of mitigation measures already
incorporated into this Proposed Action, provide a more precise estimate of the amount or extent
of ESA take anticipated to result from this proposed action, and better satisfy its responsibilities
under the ESA.” FWS_AR032542.
344
      FWS_AR032542.

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commit acts that create a likelihood for injury,” in contravention of FWS regulations

and the ESA’s definition of incidental take.345

          Federal Defendants respond that its definition of harassment is lawful

because “the plain language and regulatory history show that FWS applies ‘harass’

only to (1) intentional harassment of animals and (2) unintentional harassment

traceable to a negligent act[] or omission.”346 They rely on the proposed 1981

rulemaking cited in the BiOp and an earlier 1975 final rulemaking that explained

that “the definition of ‘harass’ has been modified by restricting its application to acts

or omissions which are done intentionally or negligently. In the proposal, ‘harass’

would have applied to any action, regardless of intent or negligence.”347 As to the

purported conflict between FWS’s definition of harass and the ESA’s incidental

take provision, ConocoPhillips responds that “both ‘harass[ment]’ and ‘harm’ can

occur incidentally” because “[a] negligent act that incidentally causes the likelihood


345
   Docket 105 at 39-41 (Case No. 3:23-cv-00058-SLG); Docket 115 at 41 (Case No. 3:23-cv-
00061-SLG) (arguing that FWS’s “interpretation—that there is no incidental take where the
activity is not undertaken with the intent to harass the species—is contrary to the ESA’s plain
language, legislative history, implementing regulations, and FWS’s past practices” (emphasis in
original) (citation omitted)).
346
      Docket 137 at 60 (Case No. 3:23-cv-00058-SLG).
347
    Docket 137 at 59-60 (Case No. 3:23-cv-00058-SLG) (quoting Reclassification of the
American Alligator and Other Amendments, 40 Fed. Reg. 44412, 44413 (Sept. 26, 1975)). See
Proposal to Reclassify the American Alligator, 40 Fed. Reg. 28712, 28714 (July 8, 1975)
(“‘Harass’ in the definition of ‘take’ in the Act means an act which either actually or potentially
harms wildlife by killing or injuring it, or by annoying it to such an extent as to cause serious
disruption in essential behavior patterns, such as feeding, breeding or sheltering; significant
environmental modification or degradation which has such effects is included within the
meaning of ‘harass[.]’”).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
Case No. 3:23-cv-00061-SLG, Ctr. for Biological Diversity, et al. v. BLM, et al.
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of injury to a listed animal is not done for the purpose of harassing the animal.”348

In any event, Federal Defendants emphasize that FWS relied on two separate and

independent reasons for its no-take finding: that there was no likelihood of injury

to listed species, and that, pursuant to its definition of “harass,” any disturbance

would not be intentional or negligent.349

            The ESA does not define “harass”; FWS regulations define it as “an

intentional or negligent act or omission which creates the likelihood of injury to

wildlife by annoying it to such an extent as to significantly disrupt normal behavioral

patterns which include, but are not limited to, breeding, feeding, or sheltering.”350

In evaluating a challenge based on a regulation, courts first determine whether a

regulation is “genuinely ambiguous,” by “carefully consider[ing] the text, structure,

history, and purpose” of the regulation.351 If the regulation is not ambiguous, “[t]he

regulation then just means what it means—and the court must give it effect, as the

court would any law.”352

            Plaintiffs are correct that the definition of “harass” that FWS applied to non-

denning polar bears is inconsistent with the regulation. The regulation’s text is

348
      Docket 141 at 61 (Case No. 3:23-cv-00058-SLG).
349
      Docket 137 at 57 (Case No. 3:23-cv-00058-SLG).
350
      50 C.F.R. § 17.3.
351
  Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019) (plurality opinion) (citation and internal
quotation marks omitted).
352
      Id.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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unambiguous. “Harass” means an “intentional or negligent act or omission which

creates [a] likelihood of injury,”353 not an intentional or negligent act or omission

which intentionally or negligently creates a likelihood of injury. “Intentional or

negligent” modifies “act,” not “likelihood of injury.”354                This interpretation is

bolstered by the legislative history of the ESA.

          The House Report [on the ESA] underscored the breadth of the “take”
          definition by noting that it included “harassment, whether intentional
          or not.” The Report explained that the definition “would allow, for
          example, the Secretary to regulate or prohibit the activities of
          birdwatchers where the effect of those activities might disturb the birds
          and make it difficult for them to hatch or raise their young.” These
          comments . . . support the Secretary’s interpretation that the term
          “take” in § 9 reached far more than the deliberate actions of hunters
          and trappers.355

          Because the regulation is unambiguous, the Court does not defer to FWS’s

definition of “harass” in the BiOp or the proposed 1981 rulemaking commentary on

which the BiOp and Federal Defendants rely for non-denning polar bears.356

However, as explained below, FWS’s second, independent basis for finding that

non-denning polar bears would not be harassed by the Willow Project was not




353
      50 C.F.R. § 17.3.
354
      See id.
355
   Babbitt v. Sweet Home Chapter of Cmtys. for a Great Or., 515 U.S. 687, 704-05 (1995)
(emphasis in original) (quoting H.R. Rep. No. 93-412, at 11 (1973)).
356
   See Kisor, 139 S. Ct. at 2415 (“[I]f there is only one reasonable construction of a regulation[,]
then a court has no business deferring to any other reading . . . .”).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
Case No. 3:23-cv-00061-SLG, Ctr. for Biological Diversity, et al. v. BLM, et al.
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arbitrary and capricious, such that the agency’s misinterpretation of its regulation

is harmless error.

                                   b. No Likelihood of Injury

          CBD Plaintiffs argue that “Willow will involve substantial activity in polar bear

habitat,” including “over three million ground transportation trips, . . . gravel mining

and blasting, pile driving, new roads, and hundreds of boat trips.”357                     “Such

activities can significantly disrupt polar bears’ normal behaviors[,]” considering

their sensitivity to noise and “high energy demands,” as well as polar bears’

“declining reproductive and survival rates, and poor body condition.” 358                  CBD

Plaintiffs contend that FWS’s determination “that none of the disturbances from

Willow over the next three decades would significantly disrupt the normal

behavioral patterns of any polar bear . . . rests on several arbitrary rationales

contradicted by the record.”359

          Specifically, CBD Plaintiffs contend that FWS “relied on the fact that polar

bears occur in ‘low density’ in the Project area, especially ‘inland’ where bears are

‘less likely to occur[,]’ [b]ut this acknowledges that bears do occur in the Project

area, including inland, and a lower density does not preclude Willow from


357
  Docket 115 at 44 (Case No. 3:23-cv-00061-SLG) (first citing AR820708; then citing
FWS_AR032516; and then citing FWS_AR032512-13, 16).
358
  Docket 115 at 44-45 (Case No. 3:23-cv-00061-SLG) (first citing FWS_AR032513; then citing
AR515923; then citing AR523622; then citing AR517712-30; and then citing AR517731-72).
359
      Docket 115 at 45 (Case No. 3:23-cv-00061-SLG) (emphasis in original).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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harassing individual bears.”360 Next, CBD Plaintiffs assert that FWS concluded

“that non-denning bears ‘can move away from disturbance if necessary[,]” [b]ut

such movements can themselves constitute harassment, particularly for

females.”361 Third, CBD Plaintiffs maintain that FWS’s recognition that “‘on-going

existing levels of human activities and disturbance’ in some polar bear habitat . . .

contradicts, without explanation, the available evidence showing that the more

disturbances a bear experiences, the more negative impacts that bear will

suffer.”362 Lastly, CBD Plaintiffs assert that “FWS assumed that various Project

design features would minimize the impacts of any disturbance[,] . . . includ[ing]

disturbance from all vehicle traffic.”363 Although FWS cited a mitigation measure

prohibiting chasing wildlife with vehicles, CBD Plaintiffs argue that the measure

“does not require anything that will prevent incidental harassment to polar bears

from vehicle traffic.”364


360
      Docket 115 at 45 (Case No. 3:23-cv-00061-SLG) (quoting FWS_AR032516).
361
   Docket 115 at 45-46 (Case No. 3:23-cv-00061-SLG) (quoting FWS_AR032516) (“Studies
have shown, for example, that ‘[w]hen energetically stressed, female polar bears may forego
reproduction,’ and that ‘females with small cubs . . . have higher energetic demands due to
lactation’ and increased movements require them ‘to expend additional energy.’” (first quoting
AR522160; then quoting AR523622; and then citing AR521546-56)).
362
    Docket 115 at 46 (Case No. 3:23-cv-00061-SLG) (first quoting FWS_AR032516-17; and then
citing AR523622 (noting the harms to polar bears “from increased movements”)).
363
    Docket 115 at 46 (Case No. 3:23-cv-00061-SLG) (first citing FWS_AR032517; and then
citing FWS_AR032516).
364
    Docket 115 at 46 (Case No. 3:23-cv-00061-SLG) (first citing FWS_AR032420, 512; and then
citing Cook Inletkeeper v. Raimondo, 533 F. Supp. 3d 739, 754-55 (D. Alaska 2021)).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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         SILA Plaintiffs similarly argue that FWS erroneously “failed to explain why”

“impacts on transient polar bears exposed to project-related disturbance

potentially includ[ing] disruption of normal activities, displacement from foraging

and resting areas, and interruption of movement patterns,” “do not qualify as

harassment.”365

         Federal Defendants respond that FWS recognized that “small numbers of

transient bears could be exposed to project-related disturbance,” but “FWS also

[made] clear that such exposures would be brief and would only result in short-

term changes in behavior that are not biologically significant.”366                        And

ConocoPhillips asserts that FWS did not rely on only one mitigation measure to

find vehicle traffic would not harass any polar bears; rather, FWS also explained

that traffic would occur inland where polar bears are less likely to be, that Oliktok

Dock is already heavily used so any additional use caused by Willow would not

meaningfully add to disturbances there, and that vehicle traffic is regulated at

industry sites.367

         Plaintiffs’ arguments are unpersuasive. First, FWS recognized that polar

bears could transit through the Action Area and, contrary to CBD Plaintiffs’



365
      Docket 105 at 43-44 (Case No. 3:23-cv-00058-SLG) (quoting FWS_AR032513).
366
      Docket 137 at 64 (Case No. 3:23-cv-00058-SLG) (citing FWS_AR032516-17).
367
  Docket 141 at 63 (Case No. 3:23-cv-00058-SLG) (first citing FWS_AR032516; then citing
FWS_AR032509-10; then citing AR512218; and then citing FWS_AR032520).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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assertion, did not rest its finding that those bears would not experience harassment

solely on their low density in the Action Area.368 Next, FWS’s statement that

transient bears could move away from disturbances was in the context of

disturbance from aircraft operations, and FWS provided additional reasons for

finding that aircraft disturbance was unlikely to result in “measurable effects or

injury.”369 Third, FWS’s recognition that “existing coastal infrastructure most likely

to be encountered by polar bears is subject to on-going existing levels of human

activities and disturbance” was one of five reasons FWS gave for finding that non-

denning polar bears would not suffer harassment from Willow’s activities.370

Contrary to CBD Plaintiffs’ assertion, the statement does not contradict anything—

it is a fact. Lastly, regarding mitigation of vehicle disturbances, as ConocoPhillips

points out, this mitigation measure was not the only reason FWS gave for finding

that vehicles would not cause ESA harassment.




368
  FWS_AR032516-17. See FWS_AR032504, FWS_AR032508-17, FWS_AR032520-29 (BiOp
analysis on the effects of Willow to non-denning polar bears); FWS_AR032530-32 (BiOp
analysis on the effects of Willow to polar bear critical habitat).
369
   FWS_AR032516 (“[A]lthough small numbers of non-denning polar bears could be disturbed
by aircraft operations associated with the proposed Project, measurable effects or injury would
be unlikely because 1) polar bears occur at low density in the Action Area, 2) transient bears
can move away from disturbance if necessary, and this level of disturbance is expected to be
minor and temporary without the likelihood of injury, 3) most activities requiring summer
helicopter operations would take place along winter routes well inland from the coast, and 4)
adherence to minimization measures, such as maintaining a flight altitude of 1,500 feet (ROP F-
1) would minimize impacts of disturbance to non-denning bears.”).
370
      See FWS_AR032516-17.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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          In the BiOp, FWS determined that the probability that polar bears would

enter the Action Area was low, considering the inland location of most of Willow’s

new infrastructure. For bears that might enter the Action Area, FWS considered

various types of disturbances that might occur and the associated mitigation

measures Willow would implement. Upon consideration of those facts, FWS

determined that Willow “would intermittently incidentally expose small numbers of

polar bears of the SBS stock to disturbance, and that effects from these exposures

would be limited to temporary changes in behavior that would not be biologically

significant.”371 Plaintiffs have not shown that FWS’s determination that there was

no likelihood of injury to non-denning (i.e. transient) polar bears was arbitrary and

capricious.

           In sum, the Court finds that FWS’s conclusion that Willow’s disturbances

would not create a likelihood of injury to non-denning polar bears and that,

therefore, there would be no ESA harassment or take, is “within the bounds of

reasoned decisionmaking.”372                FWS “considered the relevant factors and

articulated a rational connection between the facts found and the choice made.”373

Accordingly, because FWS’s no-take determination for non-denning polar bears




371
      FWS_AR032537.
372
      Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 105 (1983).
373
      Id. (citations omitted).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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relies on this lawful, separate, and independent basis, FWS’s erroneous definition

of harassment is not prejudicial error.374

                            2. Denning Polar Bears

          Plaintiffs also challenge FWS’s conclusion that disturbance to denning polar

bears would not result in a likelihood of injury. Specifically, SILA Plaintiffs argue

that “FWS acknowledged that Willow ‘could affect denning polar bears,’” but it

“largely limited its discussion to its modeling assessment’s finding of Willow’s low

risk of cub injury or mortality” and did not consider impacts to adult female denning

bears.375

          Federal Defendants respond that “the BiOp explain[s] why disturbance of

denning or prospecting bears is unlikely to occur given the location and timing of

Project activities.”376 For polar bears that might den in the project area, FWS

modeled the impact of disturbances using the MMPA standard.377                              Federal

374
      See PDK Lab’ys Inc., 362 F.3d at 799.
375
  Docket 105 at 43 (Case No. 3:23-cv-00058-SLG) (fist quoting FWS_AR032517; then citing
FWS_AR032518-19; and then citing FWS_AR032580).
376
    Docket 137 at 62 (Case No. 3:23-cv-00058-SLG) (first citing FWS_AR032509 (“The majority
of the Action Area is farther inland [than] polar bears typically occur, including transient (non-
denning) individuals and females prospecting for den sites and/or establishing dens[.]”); then
citing FWS_AR032517 (“[W]e anticipate impacts to denning polar bears associated with
activities at Oliktok Dock would be discountable due to lack of temporal overlap with the denning
period[.]”); then citing FWS_AR032520 (noting the inland location of the “vast majority of Project
infrastructure and activities” and the fact that “Project-related activities occurring closer to shore
would utilize existing infrastructure already subject to disturbance”); and then citing
FWS_AR032518 (discussing the scarcity of historical dens occurring even a few miles inland of
the coast)).
377
      Docket 137 at 62 (Case No. 3:23-cv-00058-SLG); FWS_AR032581 (model results).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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Defendants note that Plaintiffs do not dispute “FWS’s assumption that any denning

adult females subjected to Project-related disturbance could experience MMPA

‘Level B harassment’ (which requires only a disruption of behavioral patterns) but

would not experience any MMPA ‘Level A harassment’ (which requires a potential

to injure).”378 Given that assumption, Federal Defendants contend that “the notion

espoused by Plaintiffs that a ‘likelihood of injury’ . . . could accrue to the adult bear

herself is unsupported, speculative at best, and contradicted by the well-reasoned

and undisputed assumptions underpinning FWS’s peer-reviewed model as well as

by FWS’s express conclusions reported in the BiOp.”379

          With respect to adult female bears, FWS found that the probability that polar

bears would den within the Action Area was low. For those polar bears that might

enter the Action Area to den, FWS modeled whether there would be any MMPA

harassment, including to the adult female prior to cub birth during den

establishment.380 The model assigned MMPA Level B harassment to any potential

disturbance experienced by denning adult polar bears; the results showed a 0.60

probability of MMPA Level B harassment during den establishment and a 0.267



378
   Docket 137 at 62-63 (Case No. 3:23-cv-00058-SLG) (first citing 16 U.S.C. § 1362(18); and
then citing FWS_AR032580).
379
      Docket 137 at 63 (Case No. 3:23-cv-00058-SLG) (citation omitted).
380
   FWS_AR032581 (“Level B harassment was applicable to both adults and cubs, if present;
Level A harassment and lethal take were applicable to cubs only and were not possible during
the den establishment period, which ended with the birth of cubs.”).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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probability of MMPA Level B harassment after the polar bear and her cub emerged

from the den.381 The BiOp then explained that

          in many instances MMPA take does not equate to any form of ESA
          take. This is largely due to different standards concerning both the
          probability and the extent of impacts. Whereas acts causing a
          “potential to disturb” or “potential to injure” a marine mammal could
          qualify as MMPA “Level B harassment” or MMPA “Level A
          harassment[,”] respectively, no ESA take can occur unless the act
          creates a “likelihood of injury” (an element of “harass” under the ESA)
          or “actually kills or injures” a marine mammal (an element of “harm”
          under the ESA).382

          In sum, FWS considered non-lethal disturbances to adult denning polar

bears in its model as MMPA Level B harassment and determined that Willow’s

activities did not have any likelihood of actually injuring an adult denning bear. The

Court finds that FWS “considered the relevant factors” in its analysis of project

disturbances to denning polar bears and “articulated a rational connection between

the facts found” and its conclusion that Willow would not cause ESA harassment

of any denning polar bears.383 Accordingly, Plaintiffs have not shown that FWS’s

consideration of ESA harassment as to denning polar bears was arbitrary and

capricious.



381
   FWS_AR032580 (“Adult females received MMPA Level B harassment for any disturbance.”);
FWS_AR032581 (Table B.1 showing a 0.600 probability of MMPA Level B harassment during
the den establishment period due to discrete exposure and a 0.267 probability of MMPA Level B
harassment in the post-emergence period due to repeated exposure).
382
      FWS_AR032540 (first citing 16 U.S.C. § 1362(18); and then citing 50 C.F.R. § 17.3).
383
      See Balt. Gas & Elec. Co., 462 U.S. at 105.

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            Because the BiOp was not arbitrary and capricious in its incidental take

analysis of polar bears, the Court also concludes that BLM’s reliance on FWS’s

BiOp did not violate its duties pursuant to Section 7.

               d. Section 7 Consultation on Willow’s GHG Emissions

            Plaintiffs contend that BLM, FWS, and NMFS violated Section 7(a)(2) of the

ESA by failing to consider the effects of Willow’s carbon emissions on protected

species.384

                      i. Consultation

            Federal agencies fulfill their consultation responsibilities under Section 7 of

the ESA by consulting with FWS or NMFS, depending on the species potentially

affected.385 If an action agency determines that an action “may affect listed species

or critical habitat,” then generally “formal consultation is required.”386 However, if

an action agency determines that an action “may affect,” but “is not likely to

adversely affect” endangered species, threatened species, or designated critical

habitat, and the consulting service (FWS or NMFS) concurs, consultation can




384
  Docket 105 at 34-39 (Case No. 3:23-cv-00058-SLG) (raising claim against BLM and FWS
and identifying polar bears as protected species); Docket 115 at 34-41 (Case No. 3:23-cv-
00061-SLG) (raising claim against BLM, FWS, and NMFS and identifying polar bears, ringed
seals, and bearded seals as protected species).
385
      50 C.F.R. § 402.14(a).
386
      Id.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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conclude informally.387 “An agency may avoid the consultation requirement only if

it determines that its action will have ‘no effect’ on a listed species or critical

habitat.”388

          After this Court vacated FWS’s prior BiOp for the Willow Project, BLM issued

a new BA “to support USFWS’ efforts to prepare a new [BiOp].”389 The revised BA

prepared for FWS concluded that the Willow Project may affect and was likely to

adversely affect polar bears.390 The BA prepared for NMFS concluded that Willow

may affect but was not likely to adversely affect ringed and bearded seals.391

Accordingly, BLM initiated formal consultation with FWS regarding Willow’s impact

on polar bears392 and, through informal consultation, secured a letter of

concurrence from NMFS agreeing that Willow was not likely to adversely affect

any listed species or critical habitat.393




387
      50 C.F.R. § 402.14(a), (b)(1).
388
  Karuk Tribe of Cal. v. U.S. Forest Serv., 681 F.3d 1006, 1027 (9th Cir. 2012) (citation
omitted).
389
      FWS_AR030552.
390
      FWS_AR030118.
391
      AR525026-27.
392
      FWS_AR032388.
393
      See NMFS_AR000143-94.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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         The BA provided to each Service did not analyze Willow’s GHG emissions

as an effect of the action.394 In July 2022, BLM release a revised Draft SEIS and

solicited public comment for the Willow Project.395 CBD submitted a comment

asserting that BLM’s consultation with the Services under Section 7 “must consider

the impacts from the direct, indirect, and cumulative greenhouse gas emissions

caused by the project.”396 In light of CBD’s comment, on January 10, 2023, BLM

prepared a detailed memorandum assessing whether Willow’s GHG emissions

should be included in the scope of the agency’s Section 7 consultation with the

Services.397         BLM concluded that “the additional climate change-related

information [did] not alter” its initial analysis.398 BLM transmitted the memorandum

to both Services for review. On January 12, 2023, FWS responded to BLM’s




394
    See FWS_AR030542-666 (revised BA to FWS); NMFS_AR000003-142 (BA to NMFS); 50
C.F.R. § 402.12(a) (“A biological assessment shall evaluate the potential effects of the action on
listed and proposed species and designated and proposed critical habitat and determine
whether any such species or habitat are likely to be adversely affected by the action . . . .”).
395
      AR511580-81.
396
      FWS_AR032349-50. See FWS_AR032348-70 for CBD’s entire comment.
397
  See FWS_AR032344-47 (Memorandum from BLM Wildlife Biologist Craig Perham to Willow
Master Development Plan Supplemental EIS Decision File, Re: Scope of Ongoing Section 7
Consultations for Willow MDP (Jan. 10, 2023)).
398
   FWS_AR032347 (“BLM’s evaluation of the additional climate change-related information
does not alter its list of species or designated critical habitat that could be affected by an
approval of the Willow MDP, the BLM’s delineation of the Action Area, or the BAs’ analysis of
effects to any listed species or designated critical habitat.”).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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memorandum via email, concurring in BLM’s conclusion.399 On January 13, 2023,

FWS issued the BiOp, which did not include Willow’s GHG emissions as an “effect

of the action.”400 Ten days later, NMFS also concurred in BLM’s conclusion that

Willow’s GHG emissions were outside the scope of the Section 7 consultation. 401

                    ii. Willow’s GHG Emissions

          CBD Plaintiffs argue that BLM violated the ESA by failing to assess Willow’s

GHG emissions in the BA and that BLM’s memorandum—concluding that Willow’s

GHG emissions were not an effect of the action—did not remedy that omission

because it applied the wrong standard.402 That is so, they assert, because Willow’s

GHG emissions “may affect” a listed species and therefore consultation on

Willow’s GHG emissions was required.403 Accordingly, CBD Plaintiffs also argue

that NMFS’s and FWS’s concurrences with BLM’s conclusion in its memorandum

were unlawful.404



399
    FWS_AR032341 (FWS email “agree[ing] that the current state of climate science does not
allow us to draw causal links between contributions from project-specific GHG emissions to
global climate change, and subsequent project-specific effects on listed species and designated
critical habitat”).
400
      See generally FWS_AR032380-582.

  NMFS_AR000495 (January 23, 2023, NMFS email “agree[ing] that the scope of the ESA
401

Section 7 consultation with respect to GHG emissions is appropriate”).
402
      Docket 115 at 35-37 (Case No. 3:23-cv-00061-SLG).
403
      Docket 115 at 37-39 (Case No. 3:23-cv-00061-SLG).
404
      Docket 115 at 36-39 (Case No. 3:23-cv-00061-SLG).

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          SILA Plaintiffs contend that FWS violated the ESA because the BiOp failed

to consider Willow’s GHG emissions as an “effect” of the action and to

“acknowledge or explain how Willow’s emissions could further reduce sea ice

extent or otherwise reduce the survival and recovery of polar bears.”405 They argue

that “Willow’s additive direct and indirect GHG emissions are ‘effects’ under the

ESA because these emissions would not occur ‘but for’ BLM’s action approving

Willow and are ‘reasonably certain to occur.’”406 SILA Plaintiffs contend that, “[a]t

a minimum, Willow’s GHG emissions ‘may affect’ polar bears and meet the

threshold requirement for being considered during consultation.”407

          Federal Defendants respond that “BLM fully grappled with climate-change

related issues in its ESA Section 7 consultations.”408 They point to portions of

BLM’s BAs to FWS and NMFS that included climate change as a cumulative effect

and noted that warming global temperatures and the associated loss of sea ice

“may have serious implications for polar bears and their ice-dependent marine

prey.”409 Federal Defendants assert that, “[w]hile BLM did not specifically consider


405
      Docket 105 at 34-35 (Case No. 3:23-cv-00058-SLG).
406
    Docket 105 at 35 (Case No. 3:23-cv-00058-SLG) (first citing 50 C.F.R. § 402.02; and then
citing Conner, 848 F.2d at 1453).
407
   Docket 105 at 35 (Case No. 3:23-cv-00058-SLG) (citing Ctr. for Biological Diversity, 698 F.3d
at 1122-25).
408
      Docket 137 at 46 (Case No. 3:23-cv-00058-SLG).

  FWS_AR030115. See FWS_AR030115-20 (portion of BLM’s BA to FWS regarding climate
409

change cumulative effects and polar bears); NMFS_AR000073 (BLM’s BA sent to NMFS noting

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Willow’s GHG emissions as part of its initial ESA ‘effects’ analysis, this is

immaterial because it determined the Willow Project ‘may affect’ listed species and

their designated critical habitat.”410 Federal Defendants maintain that “the ‘may

affect’ threshold is only applied by action agencies in determining whether ESA

consultation must be initiated in the first place” and “an action agency’s ‘may affect’

determination addresses the entirety of the proposed action, not specific

subcomponents in isolation like GHG emissions.”411                   “[O]nce consultation is

underway, the only potential consequences that must be evaluated and described

are ‘effects of the action.’”412

          Regarding BLM’s January 2023 memorandum, Federal Defendants assert

that BLM’s conclusion—that “BLM [did] not identif[y] any additional effects to listed




that nonfederal “actions could contribute to cumulative effects on marine mammals, particularly
ringed and bearded seals, which are closely associated with sea ice” and “[w]arming global
temperatures and the associated reductions in extent and duration of sea ice that are predicted
to occur in the future may have substantial implications for these species”). See also
FWS_AR030116 (BLM’s BA to FWS noting that “the ability of federal agencies to influence the
processes thought to be responsible for climate change (such as global greenhouse gas
emissions) is extremely limited at present, absent an effective worldwide response to the
problem); NMFS_AR000073 (same).
410
      Docket 137 at 48 (Case No. 3:23-cv-00058-SLG).
411
      Docket 137 at 53 (Case No. 3:23-cv-00058-SLG) (quoting 50 C.F.R. § 402.14(a)).
412
   Docket 137 at 53 (Case No. 3:23-cv-00058-SLG) (first citing 50 C.F.R. § 402.14(c)(iv)
(describing required contents of a biological assessment); then citing 50 C.F.R. § 402.14(g)(3)
(describing what the Services must evaluate); and then citing 50 C.F.R. § 402.14(h) (describing
required contents of a BiOp)).

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species or designated critical habitat within the Action Area stemming from

[Willow’s] GHG emissions”413—was proper because

         quantifying a marginal decrease in seasonal sea ice in unknown spots
         somewhere in the millions of square miles of the circumpolar Arctic
         does not enable the Agencies’ expert biologists to identify any
         “reasonably certain to occur” consequences to any listed species or
         critical habitat, and thus fails to reveal any additional “effects of the
         action.”414

         As an initial matter, the Court addresses what constitutes an “effect of the

action” and therefore must be considered by BLM in the BA and by the Services in

their consultations. As noted above, “may affect” is the standard that triggers some

level of consultation between the action agency—here BLM—and the Services.415

In contrast, in their substantive analysis, the BA and the BiOp must assess “the

effects of the action on listed species or critical habitat.”416

         Effects of the action are all consequences to listed species or critical
         habitat that are caused by the proposed action, including the
413
      FWS_AR032346-47.
414
  Docket 137 at 50 (Case No. 3:23-cv-00058-SLG) (first citing FWS_AR032341 (FWS
concurrence email); then citing FWS_AR032345-46 (BLM’s memorandum); and then citing
NMFS_AR000495 (NMFS’s concurrence email).
415
   50 C.F.R. § 402.14(a) (“Each Federal agency shall review its actions at the earliest possible
time to determine whether any action may affect listed species or critical habitat. If such a
determination is made, formal consultation is required except as noted in paragraph (b) of this
section.”); id. § 402.14(b)(1) (“A Federal agency need not initiate formal consultation if, as a
result of the preparation of a biological assessment under § 402.12 or as a result of informal
consultation with the Service under § 402.13, the Federal agency determines, with the written
concurrence of the Director, that the proposed action is not likely to adversely affect any listed
species or critical habitat”).
416
   Id. §§ 402.14(h)(1)(iii), 402.12(a) (“A biological assessment shall evaluate the potential
effects of the action on listed and proposed species and designated and proposed critical
habitat . . . .”).

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          consequences of other activities that are caused by the proposed
          action. A consequence is caused by the proposed action if it would
          not occur but for the proposed action and it is reasonably certain to
          occur. Effects of the action may occur later in time and may include
          consequences occurring outside the immediate area involved in the
          action.417

Accordingly, because BLM concluded in the BA that Willow “may affect” polar

bears and bearded and ringed seals, it consulted with FWS and NMFS regarding

those species.        During consultation, the Services analyze the “effects of the

action,” as determined by applying the above definition, not by applying the “may

affect” standard.418

          BLM applied the correct standard to determine whether Willow’s GHG

emissions were an effect of the action and provided a reasoned basis for

concluding that they were not. While BLM’s BAs generally discuss climate change

and global warming, and that a loss of sea ice may threaten polar bears and other


417
      Id. § 402.02.
418
    Id. § 402.14(c)(1)(iv) (formal consultation); id. § 402.13(c)(1) (during informal consultation,
“[a] written request for concurrence with a Federal agency’s not likely to adversely affect
determination shall include information similar to the types of information described for formal
consultation at § 402.14(c)(1) sufficient for the Service to determine if it concurs.”).

Plaintiffs rely on Center for Biological Diversity v. Bureau of Land Management, 698 F.3d at
1122-25, in support of their assertion that the “may affect” standard applies to the BiOp’s effects
analysis. Docket 105 at 36 (Case No. 3:23-cv-00058-SLG); Docket 115 at 37 (Case No. 3:23-
cv-00061-SLG). However, that case equated the standard for initiating consultation, “may
affect,” with the standard that an agency action “is arbitrary and capricious if it fails to ‘consider[]
the relevant factors and articulate[ ] a rational connection between the facts found and the
choice made.’” Ctr. for Biological Diversity, 698 F.3d at 1121-22 (quoting Pac. Coast Fed’n of
Fishermen’s Ass’ns v. Nat’l Marine Fisheries Serv., 265 F.3d 1028, 1034 (9th Cir. 2001)). See
also Karuk Tribe of Cal., 681 F.3d at 1027 (“We have previously explained that ‘may affect’ is a
‘relatively low’ threshold for triggering consultation.” (emphasis added) (quoting California ex rel.
Lockyer v. U.S. Dep’t of Agric., 575 F.3d 999, 1018 (9th Cir. 2009)).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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ice-dependent species, the BAs do not discuss how Willow’s GHG emissions may

affect these species.419 However, BLM’s memorandum, issued after the BAs but

before the BiOp and Final SEIS were complete, responded to CBD’s comment on

the Draft SEIS “that suggested that Federal agencies establish causal links

between project-specific GHG emissions and climate change-related effects to

listed species (with an emphasis on marine mammals, highlighting polar bears)

and/or their designated critical habitat.”420 In the memorandum, BLM

         acknowledge[d] that [Willow] is anticipated to result in a marginal
         increase in global GHG emissions that would contribute to climate
         change and, potentially, a marginal seasonal decrease in sea ice
         extent somewhere in the Arctic. Further, while a suite of polar bear
         impacts as a result of sea ice loss is known, any generalized
         calculations of GHG impacts, such as sea ice loss, at this time would
         not be able to determine precise effects to individual animals and such
         consequences would not be reasonably certain to occur.421

That was, in part, because “the sea-ice calculation [provided in CBD’s comment]

is too broad to quantify potential impacts to listed species already addressed in the

Section 7 consultations or their critical habitat with additional precision beyond that

which has already occurred.”422 The memorandum concluded that Willow’s GHG


419
   See FWS_AR030662 (BA to FWS noting that “the ability of federal agencies to influence the
processes thought to be responsible for climate change (such as global greenhouse gas
emissions) is extremely limited at present, absent an effective worldwide response to the
problem).”); NMFS_AR000073 (BA to NMFS noting same).
420
      FWS_AR032344. See FWS_AR032348-70 (CBD’s comment).
421
      FWS_AR032345.
422
      FWS_AR032345.

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emissions were not an effect of the action and the “BAs’ effects analysis [was]

sufficient.”423 Both FWS and NMFS agreed.424

          CBD Plaintiffs argue that BLM’s memorandum improperly required

“‘precision’ or ‘granularity’ in the ability to predict effects from [Willow’s]

emissions.”425           But “[t]o be considered an effect of a proposed action, a

consequence must be caused by the proposed action (i.e., the consequence would

not occur but for the proposed action and is reasonably certain to occur).”426 “A

conclusion of reasonably certain to occur must be based on clear and substantial

information, using the best scientific and commercial data available.”427 BLM

determined that “generalized calculations of GHG impacts . . . would not be able

to determine precise effects to individual animals and such consequences would

not be reasonably certain to occur.”428 As such, BLM concluded that Willow’s GHG


423
      FWS_AR032346-47.
424
      FWS_AR032341 (FWS email); NMFS_AR000495 (NMFS email).
425
    Docket 115 at 38 (Case No. 3:23-cv-00061-SLG) (quoting FWS_AR032345-46 (BLM
memorandum noting that “more granular information” was needed “to establish a relationship
between a marginal sea ice loss and resulting consequences to marine mammals” and “[a]
simple calculation of sea ice loss would not be adequate to further help the analysis of polar
bear food resources or seal impacts to a level of precision that has not already been addressed
in the SEIS and BAs”) and FWS_AR032341 (FWS email providing that “[a]lthough climate
science has advanced since [2008], the level of reliability and granularity provided by existing
models is still insufficient to identify project-specific effects to listed species or designated critical
habitat”)).
426
      50 C.F.R. § 402.17(b).
427
      Id. § 402.17(b).
428
      FWS_AR032345.

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emissions were not an effect of the action by evaluating whether Willow’s GHG

emissions were “reasonably certain” to “cause” a “consequence to listed species

or critical habitat” in the Action Area, the proper regulatory standard.429 BLM and

FWS used “precision” and “granularity” as characterizations of the causation

issues with the scientific data: the evidence was not clear and substantial enough

to render the impact of Willow’s GHG on listed species an “effect of the action.”

Accordingly, the memorandum applied “effects of the action” to conclude that

Willow’s GHG emissions fell outside the regulatory definition.430 Therefore, the

BAs and BLM memorandum were not arbitrary and capricious, and FWS’s and

NMFS’s concurrences with BLM’s conclusion were also not arbitrary and

capricious.



429
    50 C.F.R. § 402.02 (defining “effects of the action”); 50 C.F.R. § 402.02 (defining BA as “the
information prepared by or under the direction of the Federal agency concerning listed and
proposed species and designated and proposed critical habitat that may be present in the action
area and the evaluation potential effects of the action on such species and habitat.”); 50 C.F.R.
§ 402.12(c) (requiring the action agency to solicit “a list of any listed or proposed species or
designated or proposed critical habitat that may be present in the action area” or to provide such
a list of species or habitat to the Service for inclusion in the BA).
430
    CBD Plaintiffs characterize BLM’s conclusion—and the Services concurrences—that
Willow’s GHG emissions were not an effect of the action as akin to a determination that Willow’s
GHG emissions will have “no effect” on polar bears or bearded and ringed seals. Docket 115 at
36 (Case No. 3:23-cv-00061-SLG). However, as noted above, if an agency determines that an
action will have “no effect” on listed species or critical habitat, then no consultation with the
Services under Section 7 is required. Here, BLM did not make a “no effect” finding as to Willow.
Rather, it concluded that Willow “may affect” polar bears and bearded and ringed seals and
initiated consultation with the Services on the “effects” of Willow. Willow’s GHG emissions are
not a standalone “agency action” that requires a standalone determination of “no effect” or “may
affect.” See Docket 137 at 53 (Case No. 3:23-cv-00058-SLG) (“[A]n action agency’s ‘may
affect’ determination addresses the entirety of the proposed action, not specific subcomponents
in isolation like GHG emissions.”).

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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         SILA Plaintiffs’ similar arguments as to FWS’s BiOp also fail. Just as BLM’s

determination that Willow’s GHG emissions did not constitute an “effect of the

action” under the ESA was not arbitrary and capricious, FWS’s failure to

specifically address Willow’s GHG emissions in the BiOp was similarly not arbitrary

and capricious. In any event, FWS recognized the impacts of GHGs on climate

change and climate change’s impacts on polar bears and their habitat.                      In

evaluating the baseline of polar bears, the BiOp noted that, “[i]n the Action Area,

the greatest impact to polar bears is loss of sea ice resulting from climate change”

and that “the decline of sea ice habitat due to changing climate [is] driven primarily

by increasing atmospheric concentrations of greenhouse gases.” 431 The BiOp

then explained how reductions in sea ice are impacting or could impact polar bears

and their habitat.432 In the BiOp’s conclusion, FWS

         acknowledge[d that] the Proposed Action could affect an increasingly
         higher proportion of the SBS stock of polar bear in the future (due to
         polar bears’ increased use of terrestrial areas as sea ice decreases,
         a decline in the SBS stock population, or other factors). [FWS] also
         acknowledge[d] that polar bears in the Action Area could become
         increasingly sensitive to disturbance or other impacts due to food
         stress or other factors indirectly associated with climate change.
         However, [FWS did] not have sufficient data to reliably predict how
         the effects of the proposed Action may or may not contribute to
         increased sensitivity.433



431
      FWS_AR032485.
432
      FWS_AR032485-87; FWS_AR032491.
433
      FWS_AR032537.

Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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          Further, in the FWS email concurring in BLM’s conclusion that Willow’s GHG

emissions were outside the scope of the Section 7 consultation, FWS

          agree[d] that the current state of climate science does not allow us to
          draw causal links between contributions from project-specific GHG
          emissions to global climate change, and subsequent project-specific
          effects on listed species and designated critical habitat. The Service
          has consistently held this position since at least 2008, when it listed
          polar bears as threatened. Although climate science has advanced
          since then, the level of reliability and granularity provided by existing
          models is still insufficient to identify project-specific effects to listed
          species or designated critical habitat.
          ...
          Here, we agree that an estimate of a project-caused decrease in sea
          ice occurring somewhere in the Arctic, without more specific
          information (e.g., location and type of affected sea ice, use [if any] of
          that sea ice by listed species and their prey/forage, etc.), does not
          enable us to predict any "effects of the action" to listed species or
          designated critical habitat per section 7 and its implementing
          regulations.434

          In sum, BLM and the Services “considered the relevant factors” and

“articulated a rational connection between the facts found and” their conclusions

that Willow’s GHG emissions did not constitute an effect of the action under the

ESA.435       While NMFS’s email “agreed that the scope of the ESA Section 7

consultation with respect to GHG emissions is appropriate” “[w]ithout commenting

on the conclusions that BLM has drawn,” because the underlying BLM conclusion

was not arbitrary and capricious, any deficiency on NMFS’s part in explaining its



434
      FWS_AR032341.
435
      Balt. Gas & Elec. Co., 462 U.S. at 105.

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agreement with BLM’s conclusion would be harmless error. Because FWS’s BiOp

was not arbitrary or capricious, the Court also finds that BLM’s reliance on the BiOp

did not violate the ESA.436

                 iii. Best Scientific Data Available

       Plaintiffs argue that, by failing to consult on or consider Willow's GHG

emissions, FWS did not consider the best available scientific and commercial data

as required by the ESA.437 Federal Defendants respond that “[they] did not ignore

the studies cited by Plaintiffs. Rather, they comprehensively described key

overarching issues like the contribution of GHG emissions to climate change and

the projected impacts to sea ice and ice-dependent species.”438

       “The ESA requires an agency to use ‘the best scientific and commercial data

available’ when formulating a BiOp.”439 “Under this standard, an agency must not

‘disregard[] available scientific evidence that is in some way better than the

evidence [it] relies on.’”440 “The standard does not, however, require an agency to


436
  Docket 105 at 34 (Case No. 3:23-cv-00058-SLG); Docket 115 at 47 (Case No. 3:23-cv-
00061-SLG).
437
   Docket 105 at 36-39 (Case No. 3:23-cv-00058-SLG); Docket 115 at 39-41 (Case No. 3:23-
cv-00061-SLG).
438
  Docket 137 at 56 (Case No. 3:23-cv-00058-SLG) (first citing AR820758-59; then citing
FWS_AR030115-20; and then citing NMFS_AR000073).
439
   San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 995 (9th Cir. 2014) (quoting
16 U.S.C. § 1536(a)(2) and 50 C.F.R. § 402.14(g)(8)).
440
  Id. (quoting Kern Cnty. Farm Bureau v. Allen, 450 F.3d 1072, 1080 (9th Cir. 2006) (internal
quotation marks omitted)).

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conduct new tests or make decisions on data that does not yet exist.” 441 “Finally,

what constitutes the best scientific and commercial data available is itself a

scientific determination deserving of deference.”442

          CBD Plaintiffs claim that “[t]he current science substantially develops

information about sea ice trends in all polar bear subpopulation regions, and other

information estimating the extent and timing of projected Arctic sea ice loss” and

Plaintiffs cite several studies in the record.443 They also claim that “science also

shows that significant emissions reductions will allow substantially more sea ice to

persist and increase the chances that polar bears will survive in Alaska and across

their range.”444 Plaintiffs also rely on a 2016 study quantifying that every metric

441
      Id. (citing Am. Wildlands v. Kempthorne, 530 F.3d 991, 998-99 (D.C. Cir. 2008)).
442
  Id. (citing Miccosukee Tribe of Indians v. United States, 566 F.3d 1257, 1265 (11th Cir.
2009)).
443
   Docket 115 at 40 (Case No. 3:23-cv-00061-SLG) (first citing AR522799-813 (2016 Stern and
Laidre study finding “a trend toward earlier sea-ice retreat and later sea-ice advance” and a
decline in the “number of ice-covered days”); then citing AR752368 (report noting that “[s]ince
the early 1980s, annual average arctic sea ice has decreased in extent between 3.5% and 4.1%
per decade” and that “[i]t is very likely that human activities have contributed to observed arctic
surface temperature warming [and] sea ice loss” (emphasis omitted)); then citing AR752642 and
AR752646 (report noting same); then citing AR725580 (2018 Arctic Report Card noting that
surface air temperatures in the Arctic are warming and 2018 Arctic sea ice was “younger,
thinner, and covered less area than in the past”); and then citing AR644960, AR644993-5000
(2021 Arctic Report Card excerpts noting that “the 15 lowest [sea ice] minimum extents have all
occurred in the last 15 years” and “[t]he amount of multiyear sea ice, based on available data
since 1985, reached its second lowest level by the end of summer 2021, sea ice thickness was
lower than recent years, and volume was at record low (since at least 2010) in April 2021”)).
444
   Docket 115 at 40 (Case No. 3:23-cv-00061-SLG) (first citing AR725265-70 (2010 study
showing “substantially more sea-ice habitat would be retained if greenhouse gas rise is
mitigated” and that “mitigating greenhouse gas emissions to improve polar bear status would
have conservation benefits throughout and beyond the Arctic”); then citing AR736462-66 (2016
study modeling the response of polar bears to sea ice loss); then citing AR725322-28 (2020

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ton of carbon emissions results in a loss of three, plus or minus three-tenths,

square kilometers of sea ice and maintain this study should have been used to

quantify the impact of Willow’s GHG emissions on polar bears and seals.445

         FWS cited the Stern and Laidre study identified by CBD Plaintiffs in the BiOp

for the proposition that “over the last two decades, the Southern Beaufort Sea

subpopulation has experienced a marked decline in summer sea-ice extent, along

with pronounced lengthening of the open-water season.”446 The other studies

Plaintiffs identify indicate that Arctic sea ice is decreasing, that greenhouse gases

contribute to the loss of sea ice, and that a loss of sea ice could adversely affect

polar bears. FWS acknowledged all of this in the BiOp: “[T]he decline of sea ice




study noting “that, with high greenhouse gas emissions, steeply declining reproduction and
survival will jeopardize the persistence of all but a few high-Arctic subpopulations by 2100”); and
then citing AR523567 (FWS Polar Bear Conservation Management Plan noting that “[i]t cannot
be overstated that the single most important action for the recovery of polar bears is to
significantly reduce the present levels of global [GHG] emissions, which are the primary cause
of warming in the Arctic”)). See Docket 105 at 40 (Case No. 3:23-cv-00058-SLG) (first citing
same 2010 study above; and then citing FWS_AR371710 (2015 study noting “two-thirds of the
world’s polar bears could disappear if greenhouse gas emissions continue as predicted”)).
445
   Docket 105 at 37 (Case No. 3:23-cv-00058-SLG) (citing AR751166-70 (2016 Notz and
Stroeve study)); Docket 115 at 39-41 (Case No. 3:23-cv-00061-SLG) (citing AR736154-58
(same)). ConocoPhillips asserts that “BLM evaluated [the Notz study]” in the memorandum.
Docket 141 at 55 (Case No. 3:23-cv-00058-SLG) (citing AR811704 and FWS_AR032345). The
BLM memorandum cites two studies, neither of which is the Notz study; but both the
memorandum and FWS’s response discuss that it is possible to estimate a “project-caused
decrease in sea ice,” which was the conclusion of the Notz study. FWS_AR032341. BLM also
referred to the Notz study and its finding regarding sea ice loss in the Final SEIS. See
AR820758.
446
      FWS_AR032470; FWS_AR032484; FWS_AR032564.

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habitat due to changing climate, driven primarily by increasing atmospheric

concentrations of greenhouse gases, is the primary threat to polar bears.”447

          The 2016 Notz study that Plaintiffs rely on concludes that a defined increase

in global GHG emissions will result in a measurable quantity of Arctic sea ice loss.

The agencies considered that this scientific evidence was available in their ESA

analysis.448 But Plaintiffs have not shown any available scientific evidence that

links Willow’s projected GHG emissions to a reasonably certain decrease in sea

ice impacting polar bears in the Action Area.449 As BLM acknowledged, Willow “is

anticipated to result in a marginal increase in global GHG emissions that would

contribute to climate change and, potentially, a marginal seasonal decrease in sea

ice extent somewhere in the Arctic.”450 But as FWS explained, “an estimate of a

project-caused decrease in sea ice occurring somewhere in the Arctic, without

more specific information (e.g., location and type of affected sea ice, use [if any]

of that sea ice by listed species and their prey/forage, etc.,) does not enable us to

predict any ‘effects of the action’ to listed species or critical designated habitat.”451

Accordingly, Plaintiffs have not shown that FWS “disregarded available scientific


447
      FWS_AR032485.
448
      FWS_AR032341.
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      See description of Action Area supra Section V.c.i.1.
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      FWS_AR032345.
451
      FWS_AR032341.

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evidence” “better than the evidence it relied on,”452 and FWS’s use of the available

scientific and commercial data was not arbitrary and capricious.

                                        CONCLUSION

          In light of the foregoing, IT IS ORDERED that:

      • SILA Plaintiffs’ Motion to Strike at Docket 150 in Case No. 3:23-cv-00058-

          SLG is GRANTED in part and DENIED in part as follows: the Court strikes

          only the 2008 Lecky letter and the portion of NSB’s response in opposition

          that relies on the letter,453 as set forth above;

      • SILA Plaintiffs’ request for vacatur at Docket 105 in Case No. 3:23-cv-

          00058-SLG and CBD Plaintiffs’ request for vacatur at Docket 115 in Case

          No. 3:23-cv-00061-SLG are each DENIED; and

      • SILA Plaintiffs’ and CBD Plaintiffs’ claims are DISMISSED with prejudice.

          The Clerk of Court is directed to enter a final judgment accordingly.

          DATED this 9th day of November 2023, at Anchorage, Alaska.


                                                    /s/ Sharon L. Gleason
                                                    UNITED STATES DISTRICT JUDGE




452
      See San Luis & Delta-Mendota Water Auth., 776 F.3d at 995.
453
   Docket 143-1 at 18-19 (Case No. 3:23-cv-00058-SLG); Docket 143 at 33 & n.8 (Case No.
3:23-cv-00058-SLG).

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